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SPB Capital Partners, L.P.; SPB Partners, LLC;
Craig Enenstein; L. Geoffrey Greulich; Edward A.
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                       UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF HAWAII
In re:                                                  No. 16-01294
                                                        (Chapter 7)
ROLLOFFS HAWAII, LLC,

                        Debtor.




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DANE S. FIELD, Chapter 7 Trustee for the                Adv. Pro. No. 18-90035
Estate of Rolloffs Hawaii, LLC
                                                        REPLY OF DEFENDANTS
                        Plaintiff,                      TRASHMASTERS, LLC;
                v.                                      CORRIDOR CAPITAL, LLC;
                                                        CORRIDOR CAPITAL
TRASHMASTERS, LLC; CORRIDOR                             ADVISORS, LLC; CORRIDOR
CAPITAL LLC; CORRIDOR CAPITAL                           TRASHMASTERS, L.P.; SPB
ADVISORS, LLC; CORRIDOR                                 MANAGEMENT, LLC; SPB
TRASHMASTERS, L.P.; SPB                                 WASTE, LLC; SPB CAPITAL
MANAGEMENT, LLC; SPB WASTE,                             GP, LLC; SPB CAPITAL
LLC; SPB CAPITAL GP, LLC; SPB                           PARTNERS, L.P.; SPB
CAPITAL PARTNERS, L.P.; SPB                             PARTNERS, LLC; CRAIG
PARTNERS, LLC; CRAIG ENENSTEIN;                         ENENSTEIN; L. GEOFFREY
L. GEOFFREY GREULICH; EDWARD A.                         GREULICH; EDWARD A.
MONNIER; JESSAMYN DAVIS; ARI D.                         MONNIER; JESSAMYN
BASS; SCOTT R. BULLOCH; KENNETH                         DAVIS; ARI D. BASS; SCOTT
M. PRESSBERG; KRISTIAN GOURLAY;                         R. BULLOCH AND KENNETH
DOUGLAS L. ASAY; DOUGLAS D.                             M. PRESSBERG TO
ASAY; CHARLES E. LEONARD; BRIAN                         PLAINTIFF’S OPPOSITION
COLBECK; ROLLOFFS HAWAII, INC.;                         TO MOTION TO DISMISS
THE KNG GROUP, LLC; COLBECK
CONSULTING LLC; JOHN DOES 1-50;                         [Related Docket Nos. 1, 19, 20,
JANE DOES 1-50; DOE CORPORATIONS                        21, 30]
1-50; DOE PARTNERSHIPS 1-50; DOE
ENTITIES 1-50,                                          Hearing:
                                                        Date:       April 12, 2019
                        Defendants.
                                                        Time:       10:00 a.m.
                                                        Judge:      Hon. Robert J. Faris




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        Defendants TrashMasters, LLC; Corridor Capital, LLC; Corridor Capital

Advisors, LLC; Corridor TrashMasters, L.P.; SPB Management, LLC; SPB Waste,

LLC; SPB Capital GP, LLC; SPB Capital Partners, L.P.; SPB Partners, LLC; Craig

Enenstein; L. Geoffrey Greulich; Edward A. Monnier; Jessamyn Davis; Ari D.

Bass; Scott R. Bulloch and Kenneth M. Pressberg (collectively, “Defendants”1), by

and through their undersigned counsel, file this reply (the “Reply”) to Plaintiff’s

Opposition to Motion to Dismiss, Filed on February 15, 2019 [Docket No. 30] (the

“Opposition”) filed by the trustee for the Rolloffs Hawaii LLC estate (the

“Trustee” or “Plaintiff”) in the above-captioned adversary proceeding in response

to Defendants’ Motion to Dismiss Complaint [Docket No. 19] (the “Motion to

Dismiss”).2 In support of the Reply, Defendants respectfully state as follows:

                                                I.

                                PRELIMINARY STATEMENT

        The Opposition to the Motion to Dismiss highlights that the Trustee has not,

and cannot, allege facts to support his claims; instead, he relies on broad

conclusory statements, group pleading, obfuscation, and misstatements of both

facts and applicable law to support his false narrative that a legitimate private-


1
 The Trustee refers to Defendants as the “Syndicator Defendants” in the
Opposition.
2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed
to them in the Motion to Dismiss.

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equity investment that failed was, from inception, a calculated, fraudulent scheme

to fleece the Debtor’s creditors in order to reap advisory fees that ultimately

amounted to approximately 16% of the capital contributed to the Debtor. None of

the equity holders ever recovered their capital or received any other distributions

from the Debtor or TrashMasters.

      The first eighteen pages of the Opposition attempt to recast the facts and

obscure fatal pleading flaws. The Trustee’s “new” allegations in the Opposition

double down on the errors, unsupported conclusions, and penchant to ignore or

misstate applicable law, rather than to supply actual factual allegations on which

cognizable claims may be based. Regardless, the factual allegations at issue are

those alleged in the Complaint, not the facts the Trustee says he will allege in an

amended complaint, and the Court should not address them in determining if the

claims in the Complaint, as presently stated, must be dismissed. To the extent the

Trustee is granted leave to amend, and can state new factual allegations beyond

bare conclusions without violating Rule 11, the Defendants will address those

allegations in a responsive pleading and the Court can consider them.

      With respect to each of the actual fraudulent-transfer counts, the Trustee

ignores the requirement that he allege facts that give rise to a strong inference of

fraudulent intent; instead, he reiterates facts in the Complaint that would be present

in most private-equity investments—an investment vehicle, a holding company,


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and an advisory agreement—to implausibly (and falsely) claim that all the

Defendants acted in unison as the “‘masterminds’ and the perpetrators of a

fraudulent scheme” who set up a “conglomerate of companies” to “facilitate their

fraudulent scheme” and “advance their own interest.” The Complaint alleges no

facts suggesting a departure from a standard private-equity transaction,3 and

therefore the Trustee never alleges a theory as “cogent and at least as compelling

as any opposing inference of nonfraudulent intent” as required under United States

Supreme Court authority,4 nor does the Opposition indicate the Trustee is able to

replead any of the actual fraudulent-transfer counts to accomplish that.

         As to the constructive fraudulent-transfer counts, the Opposition ignores the

fatal flaw raised in the Motion to Dismiss: Payment on an antecedent debt

constitutes reasonably equivalent value as a matter of law, requiring dismissal of

the constructive fraudulent-transfer counts with prejudice. The Trustee’s only

response is that the Debtor should not have been liable for its antecedent debt

(even though it financed the acquisition of all the assets for the Debtor) without

addressing why he did not seek to avoid the underlying obligations. Instead, the

3
 The Trustee, for the first time in the Opposition, alleges that TrashMasters
acquired the Debtor’s assets at “purchase prices that far exceeded the appraised
value of the assets.” Opposition at 7. This was not alleged in the Complaint, nor
are there any facts supplied in the Opposition supporting this assertion. Moreover,
private equity investments are bought and sold on the basis of the going concern
enterprise value, not the appraised value of the assets.
4
    Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314 (2007).

                                            3
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Opposition devotes pages attempting to create a factual dispute as to insolvency by

fabricating alternate versions of the Debtor’s balance sheets, urging the Court to

ignore principals of consolidated accounting, and disregarding the value of the

Debtor’s assets. While these new “facts” or documents referred to were not alleged

in the Complaint and are therefore irrelevant to the Motion to Dismiss, the Court

need not consider insolvency to dismiss the constructive fraudulent-transfer claims

where the challenged transfers were made on account of antecedent debt.

      With one exception, these two fundamental issues (failure to allege

fraudulent intent and facts on the face of the Complaint conclusively establishing

challenged payments were on account of antecedent debt or otherwise for

reasonably equivalent value) and the Trustee’s failure to address them in the

Opposition require dismissal of each fraudulent-transfer count, and extinguish each

of the Trustee’s derivative counts for conspiracy, breach of fiduciary duty, aiding

and abetting, unjust enrichment, and alter ego, all of which rely on the existence of

underlying fraudulent transfers. The sole exception is the ROHI Payoff, which fails

because the payment was not made with the Debtor’s property.

      The vast majority of the derivative counts also fail because the applicable

Hawaii LLC statute imposes a fiduciary duty only upon TrashMasters as the

manager of the Debtor. Conceding that point rather than contesting it, the Trustee

misstates applicable law on breach of duty, and relies on bare conclusions and


                                          4
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sweeping group accusations not directed at or attributed to any one Defendant, to

claim that all Defendants are liable for multiple torts arising from the alleged

fraudulent transfers and related transactions.

      The overwhelming weight of authority cited in the Motion to Dismiss,

largely unchallenged, and never legitimately challenged, compels dismissal of

every count of the Complaint. The additional facts and theories “pleaded” in the

Opposition show the Trustee is not entitled to relief under any set of facts or

theories that can be alleged on a principled basis.

                                          II.

                                   ARGUMENT

A.   Each Fraudulent Transfer Count Must Be Dismissed.

     1.   The Actual Fraudulent-Transfer Counts Must Be Dismissed as the
          Trustee Does Not Adequately Plead Fraudulent Intent Under Any
          Standard (Counts I, IV, VII, X, XI, XV, XVII, XVIII, XXII, XXIV,
          XXV, XXIX, XXXI, XXXII, XXXVI, XXXVIII, XXXIX, XLIII,
          XLV, XLVI, L, LII).
      Each of the actual fraudulent transfer counts fails because the Trustee did

not adequately allege fraudulent intent under Rule 9(b) with respect to any of the

alleged fraudulent transfers, either based on actual fraudulent intent or the presence

of badges of fraud (i.e., circumstantial evidence).

      The Trustee argues a bankruptcy trustee is entitled to a relaxed pleading

standard under Rule 9(b). See Opposition at 25. While bankruptcy trustees may



                                          5
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enjoy a relaxed pleading standard under some circumstances, those circumstances

are not present here because the Trustee has already conducted comprehensive

discovery seeking all documents relating to the prepetition operations of the Debtor

and TrashMasters and their relationship to them. In Liquidation Tr. v. Daimler AG

(In re Old CarCo LLC), 435 B.R. 169, 192 (Bankr. S.D.N.Y. 2010), the court

rejected the Trustee’s argument where, prior to the filing of the complaint, Rule

2004 discovery allowed access to numerous documents and there was an ample

opportunity to investigate: “[t]here is no justification to relax the particularized

standard required for intentional fraud claims. The Trust has not made any

particularized allegations, which are required for a showing of intentional fraud.”

Id. The Defendants have fully responded to the Trustee’s pre-Complaint Rule 2004

discovery (acknowledged in the Opposition).5 Because the Trustee has already

received all of Defendants’ documents relating to the Debtor and TrashMasters, he

must comply with the heightened Rule 9(b) standard and allege fraud with

specificity.



5
  See Opposition at 17 (volume of documents is so extensive that Trustee claims it
is evidence of “the level of control and management the Syndicator Defendants
exercised over the Debtor and TrashMasters”); id. at 26 (“[Defendants’] admission
as to the volume of documents they have produced, a substantial portion of which
includes emails they sent and received, undoubtedly evidences the level of their
participation and knowledge of the circumstances constituting the intentional fraud
alleged in the Complaint.”).


                                           6
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      Whether under the Rule 9(b) standard or a relaxed standard afforded to

bankruptcy trustees, the Trustee has not alleged any facts from which fraudulent

intent can be inferred. The Trustee does not dispute the Supreme Court authority

cited in the Motion to Dismiss requiring that a complaint set forth facts that give

rise to a strong inference of the transferor’s fraudulent intent, which must be

“‘more than merely plausible or reasonable—it must be cogent and at least as

compelling as any opposing inference of nonfraudulent intent. . . . [I]n determining

whether the pleaded facts give rise to a “strong” inference of scienter, the court

must take into account plausible opposing inferences.’” Motion to Dismiss at 19

(quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314, 323

(2007)). Nor does the Trustee counter the Ninth Circuit authority cited in the

Motion holding that a mere recitation that a transfer was made with actual intent to

hinder, delay, or defraud is insufficient. Motion to Dismiss at 19 (citing Decker v.

GlenFed, Inc. (In re GlenFed, Inc. Sec. Litig.), 42 F.3d 1541, 1548 (9th Cir. 1994)6

(“‘conclusory allegations of fraud . . . punctuated by a handful of neutral facts’” are

insufficient, quoting Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985))).

      Rather, the Trustee suggests that the allegations of the structure of the

Debtor and TrashMasters are sufficient to allege fraud. See Opposition at 26-27.


6
 Superseded by statute on other grounds as stated in S.E.C. v. Todd, 642 F.3d
1207, 1216 (9th Cir. 2011).


                                          7
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The facts alleged by the Trustee do not give rise to any inference of fraudulent

intent; they are consistent with the Defendants structuring a legitimate private-

equity investment in an industry-standard manner: the creation of an investment

vehicle, the creation of a holding company,7 a consulting/advisory agreement and

advisory fee, and the incurrence of debt, alongside a significant equity investment,

to finance the acquisition of assets and ongoing operations.

      Further, the allegation that the Debtor was undercapitalized or leveraged

does not convert a standard private-equity arrangement into a “fraudulent scheme,”

particularly where there are no factual allegations in the Complaint that the Debtor

was actually undercapitalized.8 The Complaint provides no facts showing

undercapitalization—the face of the Complaint shows the Debtor’s repeated ability

7
  The Trustee’s contention that the creation of TrashMasters, the holding company,
was to “incur[] debt, but had no revenue to pay the debt, and to insulate themselves
from liability and creditors” defies logic and common sense. See Complaint ¶ 200.
TrashMasters was created as a holding company whose only assets were its
interests in the Debtor and TrashMasters Arizona; it was not created to “to incur
debt” it had no ability to pay. The face of the Complaint shows all of the debt held
by TrashMasters was used to acquire the assets of the Debtor. Because of this,
none of the transfers complained of by the Trustee diminished the Debtor’s balance
sheet or prejudiced creditors in any way. Ultimately, TrashMasters sold
TrashMasters Arizona in June 2010 for more than they were purchased for and all
of the proceeds of the sale went to the Debtor. See Motion to Dismiss at 47, n.34. If
the sole purpose of the Defendants was to enrich certain of them at the expense of
the Debtor’s creditors, the Defendants would have upstreamed the profits from the
sale of TrashMasters Arizona rather than contribute them to the Debtor.
8
 The only allegations of undercapitalization contained in the Complaint were
conclusory statements thereof. See Complaint ¶¶ 183, 202.


                                          8
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to obtain institutional financing, and that over $11.1 million9 of equity was

invested in TrashMasters.

         Finally, by failing to address the issue, the Trustee effectively concedes that

the challenged payments made on account of antecedent debt cannot plausibly be

alleged to have been made with the intent to hinder, delay, or defraud creditors.

Inferring that payments made on account of antecedent debt are made with the

intent to hinder, delay, or defraud creditors is not plausible because creditors are

not prejudiced by transfers that do not deplete the estate. The Trustee is unable to

cite a single case where payments made on account of antecedent debt have been

found to constitute an actually fraudulent transfer.

          The cases cited by the Trustee highlight the infirmities of the Trustee’s

    pleading rather than support it. The complaint in Hayes v. Palm Seedlings

    Partners-A (In re Agric. Research & Tech. Group, Inc.), 916 F.2d 528, 536 (9th

    Cir. 1990), related to a Ponzi scheme. Courts universally find actual fraud can be

    inferred from transfers made as part of a Ponzi scheme: “actual intent to hinder,

    delay or defraud [] creditors may be inferred from the mere existence of a Ponzi




9
 Audited Financial Statements for the years ended 2009-2012, at p. 4, attached as
Exhibits N, O, P and Q to the Declaration of Ari Bass in Support of Reply to
Trustee’s Opposition to Motion to Dismiss, and paragraph 21 thereto.


                                             9
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 scheme.” Id. at 535.10 In Valvanis v. Milgroom, 529 F. Supp. 2d 1190, 1198 (D.

 Haw. 2007), the complaint alleged that while litigation was pending against

 defendant husband, he transferred valuable real property to his wife for no

 consideration, obtained a divorce decree within two weeks of filing for divorce,

 declared bankruptcy two weeks after the divorce decree, and, after the divorce,

 the wife supported the husband financially. The court agreed with the bankruptcy

 court’s findings that these allegations were “compelling evidence that [the

 husband] has engaged in fraudulent real estate and financial transactions with his

 wife.” Id. at 1202.11 These cases only emphasize the insufficiency of the

 Trustee’s allegations regarding fraudulent intent.12


10
  The Trustee also cites Agricultural Research for the proposition that knowledge
that a transaction will operate to the detriment of creditors is sufficient for actual
intent. 916 F.2d. at 535, citing In re Am. Props., Inc., 14 B.R. 637, 643 (D. Kan.
1981)). However, no transaction that pays down antecedent debt can operate to
detriment of creditors because the balance sheet of the debtor is not diminished.
Official Unsecured Creditors Comm. v. U.S. Nat’l Bank (In re Suffola, Inc.), 2 F.3d
977, 984 (9th Cir. 1993) (direct payment on antecedent debt results in
corresponding dollar-for-dollar benefit to guarantor because liability on guaranty is
reduced).
11
   The Trustee also cites Moore v. Kayport Package Express, Inc., 885 F.2d 531,
540 (9th Cir.1989) (a case involving securities fraud rather than fraudulent
transfers), for his quote that “[i]nstances of corporate fraud may also make it
difficult to attribute the particular fraudulent conduct to each defendant as an
individual.” However, the fraudulent transfers challenged by the Trustee are
alleged to have been made by the Debtor, not individuals. Further, the actual
fraudulent-transfer counts fail not as a result of impermissible group pleading (the
issue addressed by the quote relied upon by the Trustee), but because of an absence
of facts plausibly suggesting fraudulent intent. Moore actually provides additional

                                         10
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      The Trustee has not disputed the legal standards presented in the Motion to

 Dismiss, the Complaint did not allege facts that give rise to a strong inference of

 the transferor’s fraudulent intent, and the cases cited by the Trustee did not

 support the Trustee’s argument that he had met the standards required.

 Therefore, each of the actual fraudulent-transfer counts must be dismissed,

 including those based on Hawaiian common law.13 Further, the Trustee has not


support for finding the Trustee’s allegations inadequate. Id. (in securities fraud
context, finding fraud not adequately alleged under Rule 9 because time, place and
nature of alleged fraudulent conduct had not been specifically alleged).
12
   The Trustee cites several pre-Twombly-Iqbal non-fraudulent transfer cases for
general pleading standards regarding fraud—Wool v. Tandem Computers Inc., 818
F.2d 1433, 1439 (9th Cir. 1987), and Decker v. Glenfed, Inc. (In re Glenfed, Inc.
Securities Litigation), 42 F.3d 1541, 1547 (9th Cir.1994). Wool alleged fraud and
breach of fiduciary duties in violation of federal securities laws and California
common law and, even if it were applicable, the Trustee cited it for the proposition
that statements of the time, place, and nature of the alleged fraudulent activities are
sufficient—a standard he has not met. Further, the entire sentence from Wool is:
“While mere conclusory allegations of fraud are insufficient, statements of the
time, place and nature of the alleged fraudulent activities are sufficient.” 818 F.2d
at 1439 (emphasis added).

The Trustee’s quote from Glenfed (another securities fraud case), states: “We
conclude that plaintiffs may aver scienter . . . simply by saying that scienter
existed.” 42 F.3d at 1547. Glenfed actually holds that the complaint must allege
specific facts that make it reasonable to believe such scienter existed. id.; see also
Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with
particularity the circumstances constituting fraud or mistake. Malice, intent,
knowledge, and other conditions of a person’s mind may be alleged generally.”).
13
   The Trustee’s failure to allege facts that strongly support an inference of
fraudulent intent is equally applicable to the Trustee’s common-law fraudulent-
transfer counts. The Achiles case, cited in the Opposition at 30-31, is inapposite

                                          11
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 shown any ability to replead these counts in a manner that would evidence

 fraudulent intent.

       2.   Each Constructively Fraudulent Transfer Count Must Be Dismissed
            Because Payment of Antecedent Debt Conclusively Establishes
            Reasonably Equivalent Value and Insolvency Was Never
            Adequately Alleged.

            a.    Reasonably Equivalent Value Is Conclusively Established.

         The Trustee has failed to address the dispositive issue that payment of an

antecedent debt constitutes reasonably equivalent value as a matter of law. This

failure is fatal to the all but two of the ten alleged constructively fraudulent

transfers and requires dismissal of Counts II, III, V, VI, VIII, IX, XII, XIII, XIV,

XVI, XIX, XX, XXI, XXIII, XXVI, XXVII, XXVIII, XXX, XXXIII, XXXIV,

XXXV, XXXVII, XLVII, XLVIII, XLIX, and LI.14

         The Opposition does not challenge that payment of an antecedent debt

conclusively establishes reasonably equivalent value as a matter of law and

precludes claims for constructively fraudulent transfers.15 In fact, the Trustee



because it was undisputed that the transfer of a half interest in a house was from a
husband to his wife, for “no consideration other than the $10, a wholly inadequate
consideration.” Achiles v. Cajigal, 39 Haw. 493, 498 (1952). In addition, the
transfer occurred after the defendant had been sued, and shortly prior to judgment
thereon. Id. at 495.
14
 Only the ROHI Payoff and Colbeck Payments are not, on the face of the
Complaint, payments on account of the Debtor’s antecedent debt.
15
     See Motion to Dismiss at 27-30.

                                           12
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acknowledges why this is so in the Opposition. Citing Orr v. Kinderhill Corp., 991

F.2d 31, 35-36 (2d Cir. 1993), the Trustee asserts that the “real test of a fraudulent

conveyance is the unjust diminution of the debtor’s estate.”16 The payment of an

antecedent debt is not an estate-depleting transfer because it reduces the amount of

debt owed by the debtor dollar for dollar. That is why all fraudulent-transfer

statutes define the payment of antecedent debt as value.

      Goodman, cited in the Motion to Dismiss at 60-61 for its factual similarities

with this case, teaches that courts uniformly hold that payments on account of

antecedent debt are not avoidable as constructively fraudulent transfers for this

reason. See Goodman v. H.I.G. Capital, LLC (In re Gulf Fleet Holdings, Inc.), 491

B.R. 747, 766-67 (Bankr. W.D. La. 2013). In the Opposition, the Trustee ignores

Goodman other than to incorrectly suggest Defendants relied upon it only to

support dismissal of the actual fraudulent-transfer counts,17 but does not address



16
  The Trustee subsequently cites Boyer v. Crown Stock Distribution, Inc., 587
F.3d 787, 793 (7th Cir. 2009), for the similar and noncontroversial proposition that
the fraudulent-conveyance doctrine protects creditors from transactions that have
the effect of impairing their rights.
17
   The Trustee erroneously claims the court in Goodman “did not dismiss the
trustee’s 548(a)(1)(A) intentional fraud claims to avoid the payments the debtor
had made on account of the subject Professional Services Agreement and
Consulting Agreement in that case.” Opposition at 36. This is not true and, as
made clear from a quote supplied by the Trustee, the court dismissed the
intentional fraud counts, but granted the trustee leave to amend such counts. Id.;
see Goodman, 491 B.R. at 768. Further, Goodman does provide substantial

                                          13
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the fatal issue raised in Goodman or Defendant’s other cases: With respect to

constructive fraudulent-transfer counts, payment on account of an antecedent debt

constitutes reasonably equivalent value as a matter of law. Accordingly, for each

transfer where an antecedent debt of the Debtor was paid, the related constructive

fraudulent-transfer counts must be dismissed.

      Unable to challenge this, the Trustee asks the Court to ignore the terms of

the debt instruments, determine that the Debtor’s debts should not have been the

Debtor’s debts, and to ignore settled law, even though he has not sought to avoid a

single underlying obligation incurred by the Debtor as a fraudulent obligation.

Further, the Trustee has not cited a single authority to support his position that the

mere “decision” to incur an obligation constitutes a fraudulent transfer. Of course,

no such authority exists because it would require a court to ignore the requirement

that property of the debtor must actually be transferred for a viable fraudulent-

transfer claim action to exist.18 Because each of the Union Bank Payments,

Advisory Fees, and KNG Payoff were made on account of antecedent debts owed



guidance to this Court with respect to the actual fraudulent transfer counts
concluding that claims of “lack or adequacy of consideration” as a badge of fraud
should be dismissed when a payment is made on account of antecedent debt.
18
   See Opposition at 39 (requesting leave to amend the Complaint to add as a
fraudulent transfer the Defendants’ decision to make the Debtor a borrower under
the Union Bank Credit Agreement).


                                          14
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by the Debtor, the constructive fraudulent-transfer counts related to each of these

transfers must be dismissed with prejudice.

               (1) Union Bank Payments (Counts II, III).
      The Trustee does not dispute that the Union Bank Credit Agreement was an

antecedent debt of the Debtor; rather, he argues it never should have been a debt of

the Debtor. See Opposition at 35. This argument is not only irrelevant in light of

the failure to challenge the Union Bank debt as a fraudulent obligation; it also is

based on a false and implausible narrative.

      The Trustee claims that TrashMasters purchased the Debtor’s assets prior to

“contributing” them to the Debtor and therefore the fact that the Debtor is one of

the borrowers/obligors on the Union Bank Credit Agreement is evidence of the

Defendants’ fraudulent scheme. Id. at 35. In reality, in simultaneous transactions

closing on May 1, 2009, (1) TrashMasters acquired the ROHI assets,

(2) TrashMasters contributed those assets to the Debtor, and (3) the Debtor

borrowed funds from Union Bank to finance the acquisition of its assets pursuant

to the Union Bank Credit Agreement dated May 1, 2009.19 The Trustee


19
   The much smaller Maricopa acquisition occurred at the same time, and the
Trustee admits that the proceeds of the Union Bank Credit Agreement were used to
finance the ROHI APA and Maricopa APA (Complaint ¶ 204) and the ROHI assets
were immediately contributed to the Debtor and the Maricopa assets to
TrashMasters Arizona. Upon TrashMasters Arizona’s sale in June 2010, the
proceeds were used to acquire the KNG assets and other assets for the Debtor and
for the Debtors’ working capital. See, infra, n.7.

                                         15
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acknowledges that as a holding company with no operations or revenue,

TrashMasters did not own the operating assets that secured the Union Bank debt,

but argues that TrashMasters should have been the only borrower solely obligated

to Union Bank, and the Debtor should have had no obligations despite owning the

assets purchased with that debt and contingent on such assets being collateral and

that generated the only revenue available to service the debt. This is tantamount to

claiming the Debtor should have received the assets for free and the fact that it did

not means its payment of the secured acquisition debt it incurred is a fraudulent

transfer. The Trustee’s claim that “[t]he acquisition debt was always the obligation

of TrashMasters” alone (Opposition at 35) is untrue.20

         Finally, to the extent the Trustee is suggesting that the Debtor made all of

the Union Bank Payments and TrashMasters Arizona made none,21 the Debtor still

received reasonably equivalent value because it was jointly and severally obligated

on the Union Bank Credit Agreement (Union Bank Credit Agreement § 7.1122) and



20
  The Trustee states: “[B]ut for the Syndicator Defendants burdening the Debtor
with debt and encumbering its assets . . . , the Debtor would have had no
antecedent debt.” Opposition at 38. If true, the Debtor either would own no
operating assets or would have somehow had to have acquired the assets for free.
21
 The Complaint does not actually allege this; rather, it alleges that the Debtor
made “virtually all payments due on account of the Union Bank Credit
Agreement.” Complaint ¶ 84 (emphasis added).
22
     The Union Bank Credit Agreement is attached to the Opposition at Exhibit 5.

                                            16
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payments thereon reduced the Debtor’s liability for the entire amount it was

obligated to pay thereunder.23

       The Trustee argues that the constructive fraudulent-transfer claims related to

the Union Bank Payments survive under Boyer v. Crown Stock Distribution, Inc.,

587 F.3d 787, 793 (7th Cir. 2009), because determination of a fraudulent

conveyance looks at substance over form. Boyer involved the payment of an

abnormally high dividend to the company’s stockholders as part of a series of

transactions resulting in the sale of a company’s assets to a buyer for cash, a

promissory note, and the payment of a large dividend to the shareholders of the

company that sold its assets, which drained the new company of cash. Id. at 796.

The court’s comment on substance over form related to whether to consider the

payment of the dividend part of the overall transaction or not. Id. at 793. Boyer

does not hold that an antecedent debt can be disregarded in order to find a lack of

reasonably equivalent value, nor does the substance of this transaction warrant a

different result.


23
  Although the division of payments between TrashMasters Arizona and the
Debtor is irrelevant because the Debtor was jointly and severally liable,
TrashMasters Arizona was sold in June 2010 (Complaint ¶119) and represented a
small fraction of the overall acquisition debt, so any amount attributable to
TrashMasters Arizona would have been negligible. Further, upon TrashMasters
Arizona’s sale, the proceeds were used to acquire the KNG assets and other assets
for the Debtor and for the Debtors’ working capital, so the Debtor ultimately
received all of the benefits of the Union Bank Payments, to the extent any were
made on behalf of TrashMasters Arizona. See, supra, n.7.

                                          17
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      The Trustee concedes that the Union Bank Payments were made on account

of an antecedent debt of the Debtor (Opposition at 42-43), which debt the Trustee

has not sought to avoid. Accordingly, the constructive fraudulent-transfer counts

related to the Union Bank Payments must be dismissed with prejudice.

               (2) Advisory Fees (Counts V, VI, VIII, IX, XII, XIII, XIV,
                   XVI, XIX, XX, XXI, XXIII, XXVI, XXVII, XXVIII, XXX,
                   XXXIII, XXXIV, XXXV, XXXVII)
      The Trustee does not contest that the Advisory Fee payments were made on

account of antecedent debt incurred by the Debtor. See Opposition at 42.

Accordingly, the constructive fraudulent-transfer counts relating to the Advisory

Fees must be dismissed with prejudice.

      To the extent the Trustee believes the Advisory Agreement was unfair to the

Debtor, the remedy is to avoid the Advisory Agreement itself as a fraudulent

obligation, which he has not sought to do.

      As with the Union Bank Payments, to the extent the Debtor paid all of the

Advisory Fees, while TrashMasters Arizona and TrashMasters, who were also

obligated under the Advisory Agreement, paid none, the Debtor still received

reasonably equivalent value because it was jointly and severally obligated on the

Advisory Agreement24 and its payments of the Advisory Fees reduced the Debtor’s


24
  Restatement (Second) of Contracts § 289 (1981) (“Where two or more parties to
a contract promise the same performance to the same promisee, each is bound for
the whole performance thereof”).

                                         18
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outstanding obligations under the Advisory Agreement.25 Accordingly, the

constructive fraudulent-transfer counts related to the Advisory Fees must be

dismissed with prejudice.

               (3) KNG Payoff (Counts XLVII, XLVIII, XLIX, LI)
      The Trustee argues that the KNG Payoff, made on account of the Debtor’s

Secured Guaranty (referred to by the Trustee as the KNG Guaranty), was not made

on account of an antecedent debt of the Debtor because the Debtor was not the

primary obligor on the underlying debt, and the Debtor should not have been

obligated on the Secured Guaranty. See Opposition at 40-41. The Trustee has cited

no authority to support his argument that only the payment of antecedent debt by

the primary obligor constitutes reasonably equivalent value or to refute the


25
   The Advisory Fees were calculated based on the consolidated EBITDA of
TrashMasters, TrashMasters Arizona and the Debtor. Although the division of
payments between TrashMasters, TrashMasters Arizona and the Debtor is
irrelevant because the Debtor was jointly and severally liable, TrashMasters
Arizona was sold in June 2010 (Complaint ¶119), and represented a only a small
fraction of the combined EBITDA on which the Advisory Fees were calculated, so
any amount attributable to TrashMasters Arizona would have been negligible and
would only relate to the 2009 and a portion of the 2010 Advisory Fees. Further,
upon TrashMasters Arizona’s sale, the proceeds were used to acquire the KNG
assets and other assets for the Debtor and for the Debtors’ working capital, so the
Debtor ultimately received all of the benefits of the Advisory Fees, to the extent
any were made on behalf of TrashMasters Arizona. See, supra, n.7. Finally,
because any EBITDA of TrashMasters would have derived entirely from its
subsidiaries, no legitimate argument exists that TrashMasters, as a holding
company without operations or revenue, should have been liable rather than the
Debtor.


                                         19
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multiple authorities cited by the Defendants establishing that it is well settled that

payment on account of a guaranty constitutes payment of an antecedent debt, and

therefore constitutes reasonably equivalent value.26 If the Trustee believes the

Debtor did not receive reasonably equivalent value for furnishing the Secured

Guaranty (despite receiving all of the assets purchased in connection therewith),

the appropriate remedy is to seek avoidance of the Secured Guaranty.27 Because

the Trustee has not sought to avoid the Secured Guaranty, payment thereon

satisfied an antecedent debt, constituted reasonably equivalent value, and precludes

a claim of constructive fraudulent-transfer. Accordingly, the constructive

fraudulent transfer counts related to the KNG Payoff must be dismissed with

prejudice.

         Because each of the Union Bank Payments, Advisory Fees, and KNG Payoff

were made on account of antecedent debts owed by the Debtor, the constructive




26
     See Motion to Dismiss at 70-72.
27
   As with the Union Bank Payments, the Trustee’s argument that the Debtor
should not have had any obligation arising out of the acquisition of the KNG assets
is tantamount to arguing that the Debtor was entitled to receive the assets for free.
As with the acquisition of the ROHI assets for the Debtor, in simultaneous
transactions, the KNG assets were acquired by TrashMasters, transferred to the
Debtor, and KNG (the seller) provided financing in the form of the KNG Note and
the Debtor provided a Secured Guaranty of TrashMasters’ obligations on the KNG
Note.


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fraudulent-transfer counts related to each of these transfers must be dismissed with

prejudice.

             b.   The Complaint Does Not Adequately Allege Insolvency (Counts
                  II, III, V, VI, VIII, IX, XII, XIII, XIV, XVI, XIX, XX, XXI,
                  XXIII, XXVI, XXVII, XXVIII, XXX, XXXIII, XXXIV, XXXV,
                  XXXVII, XL, XLI, XLII, XLIV, XLVII, XVLIII, XLIX, LI,
                  LII).

      The Trustee’s attempt to salvage his counts based on insolvency are based

on facts that are not set forth in the Complaint, documents referred to therein, or

matters subject to judicial notice. As pleaded, the allegations of insolvency are

insufficient to allege insolvency on the part of the Debtor at the time of each

transfer. The Court should dismiss these counts on this basis alone. However, if

the Court considers matters outside the Complaint, as urged by the Trustee,

Defendants believe it is important for the Court to understand the extent to which

those matters have been misstated and obfuscated by the Trustee.

                  (1) The Insolvency Allegations Are Insufficient.
      General allegations of insolvency are insufficient under Twombly and

Iqbal,28 as set forth in the Motion to Dismiss.29 The Trustee relies on Gold v.

28
  Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007); Ashcroft v. Iqbal, 556 U.S. 662
(2009).
29
  Motion to Dismiss at 30 (citing Stoebner v. Opportunity Fin., LLC, 562 B.R.
368, 390 (D. Minn. 2016) (conclusory allegations of insolvency are not sufficient
to meet the Rule 8(a) burden); In re THQ Inc., No. 2-13398, 2016 Bankr. LEXIS
1774, at *4 (Bankr. D. Del. Apr. 18, 2016); In re Tropicana Entm’t, LLC, 520 B.R.
455, 472 (Bankr. D. Del. 2014) (A complaint’s “recitation of the words

                                          21
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Winget, Sr. (In re NM Holdings Co., LLC), 407 B.R. 232, 259 (Bankr. E.D. Mich.

2009), for the proposition that a “general allegation of insolvency provides a

defendant fair notice.” Opposition at 43. However, the quote is from the pre-

Twombly/Iqbal case of Sharp v. Chase Manhattan Bank, N.A. (In re Commercial

Fin. Servs., Inc.), 322 B.R. 440, 450-51 (Bankr. N.D. Okla. 2003), and appears in a

block quote in NM Holdings relating to application of Rule 9(b) to constructive

fraudulent-transfer claims. The Trustee has cited no other post-Twombly/Iqbal

authority to support his contention that a bare conclusory allegation of insolvency

is sufficient post Twombly/Iqbal and it is clearly not the law in the Ninth Circuit.30




‘insolvency’ or ‘financial collapse’—without more—is not enough to support a
plausible claim of insolvency. The Court should not accept conclusory
statements.”); see also Trenwick Am. Litig. Trust v. Ernst & Young, 906 A.2d 168,
195 (Del. Ch. 2006) (“mere incantation of the word insolvency does not open the
key to discovery” and holding that trustee is required to plead actual facts
supporting a rational inference that that the debtor was insolvent at the time of the
challenged transactions”).
30
   The Trustee’s Ninth Circuit authority, Danning v. Lavine, 572 F.2d 1386 (9th
Cir. 1978), predates Twombly and Iqbal and is no longer good law, as does
O’Connel v. Shallo (In re Die Fliedermaus LLC), 323 B.R. 101 (Bankr. S.D.N.Y.
2005). Scarver v. Patel (In re Haven Trust Bancorp, Inc.), 461 B.R.910, 913
(Bankr. N.D. Ga. 2011), also relied upon by the Trustee, contained allegations that
mirrored the statutory language, but also contained factual in support of its
conclusions: “Trustee’s complaint also includes factual allegations that lend
support to its factual statement that Debtor was insolvent at the time of the
transfers or rendered insolvent as a result of such transfers.” Id.


                                          22
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      Insolvency is only a question of fact if it is adequately pleaded. Where, as

here, it is not, “the word insolvency does not open the key to discovery.”31

Accordingly, to the extent any cause of action requires an allegation of

insolvency,32 such counts should be dismissed.

                (2) Actual Insolvency.

      The applicable tests for actual insolvency require specific allegations, which

are absent from the Complaint. Insolvency can be pleaded by either (a) alleging

facts showing “that the amount of liabilities exceed the value of the corporation’s

assets” (i.e., the “balance-sheet test”) or (b) alleging facts showing that “a debtor is

not paying its debts as they become due.” In re Tsai, No. 13-27391, 2014 Bankr.

LEXIS 1059, at *16-17 (Bankr. C.D. Cal. Mar. 19, 2014); Gordon v. Bindra, No.

14-01058, 2014 U.S. Dist. LEXIS 77620, at **19-20 (C.D. Cal. June 5, 2014)

(finding that plaintiff had not adequately pleaded insolvency because “simply

alleging that [the company] had some outstanding obligations does not establish

insolvency without knowing what [its] assets were at the time of the [challenged]

payment”).




31
  Trenwick, 906 A.2d at 195.
32
  All constructive fraudulent-transfer counts should be dismissed on this basis, to
the extent they are not already dismissed on other grounds. In addition, the breach-
of-fiduciary duty claims cannot survive without insolvency.


                                           23
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      The Trustee acknowledges that he alleges insolvency in the Complaint by

“mirror[ing] the statute and stat[ing] as follows:”

             183. Upon information and belief, the Debtor was
             undercapitalized and therefore insolvent at the date of
             inception.

             184. Upon information and belief, shortly after inception,
             the Debtor was generally not paying its debts as they
             became due, and is presumed insolvent.

Opposition at 45-46. As the post-Twombly and Iqbal cases cited by Defendants

make clear, these unadorned allegations that the Debtor was insolvent are

insufficient. See Motion to Dismiss at 30-36.

                     (a) Balance-Sheet Test.
      After emphatically stating that the Court may only consider allegations in

the Complaint, documents referred to in the Complaint, and matters subject to

judicial notice; and citing Ninth Circuit authority in support thereof (Opposition at

20), the Trustee asks the Court to consider a fabricated balance sheet based on facts

not alleged in the Complaint and documents not referred to in the Complaint or

subject to judicial notice in ruling on the Motion. See Opposition at 11, 50-54; Exh.

9. The Court should not yield to this improper request.

      If the Court does grant the Trustee leave to amend, to the extent any of the

constructive fraudulent-transfer counts are not dismissed with prejudice on the

grounds that the Debtor received reasonably equivalent value for the payments, the

Trustee can add allegations to the Complaint that can be evaluated by the

                                          24
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Defendants; those allegations can either answered or the subject of another motion

to dismiss and considered by the Court. However, the Court should not evaluate

the Complaint based on facts the Trustee claims he will allege or documents that

are not referred in the Complaint and that have been misrepresented to the Court.

      As explained in the Declaration of Ari Bass in Support of Defendants’ Reply

to the Opposition (“Reply Decl.”), the Trustee’s new “allegations” that the audited

financial statements for TrashMasters and Subsidiaries are inaccurate are not even

based on the actual audited financial statements. Rather, the Trustee is referring to

the consolidating balance sheets from the “Supplemental Information” section of

the audited financial statements. Trustee’s counsel, Simon Klevansky, attached

only a portion of each of the “Supplemental Information” sections of the audited

financial statements as Exhibit A to his declaration in support of the Trustee’s

motion to compel discovery responses filed May 14, 2018 [Bankr. Case, Dkt. No.

394] but failed to present the audited financial statements in their entirety. A true

copy of Docket Number 394 is attached as Exhibit C to the initial declaration of

Ari Bass in support of the Motion to Dismiss [Adv. Case, Dkt. No. 21].

      The portions of the Supplemental Information sections attached to Mr.

Klevansky’s declaration are the “Consolidating Balance Sheets.” It is the

Consolidated (in contrast to the Consolidating) Balance Sheets that are part of the

actual financial statement. Consolidating balance sheets represent internal financial


                                          25
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information that is not useful to the interests of third parties because they contain

transactions between commonly owned affiliates that are irrelevant to outsiders.

The information presented on a consolidating balance sheet is incomplete as to the

entire financial position of entities like the Debtor and TrashMasters, which are

required to present their financial statements on a consolidated basis. The actual

financial position is only visible and ascertainable by analyzing the consolidated

balance sheet. Certain asset and liability accounts in the consolidating balance

sheet are always overstated or understated because they represent one-sided

accounting entries; the other entries reside on another consolidating balance sheet.

In the process of consolidation, the internal transactions that create the

intercompany payables and receivables are eliminated so that the consolidated

balance sheet shows only the interests of outsiders/third parties.

      The complete Audited Financial Statements of TrashMasters and its

Subsidiaries for the years ended 2009-2014 are attached to the Reply Declaration

as Exhibits N, O, P, and Q respectively.33 As the Independent Auditor’s Reports on

Supplemental Information disclose, the consolidating balance sheets “are presented


33
  The Debtor’s audited financial statements are not offered because the Court
should rely on those audited financials in determining whether the Trustee
adequately alleged insolvency—for that determination, the Court only need
consider the Trustee’s lack of factual allegations. Rather, the financials were
referenced to provide context and demonstrate the inability of the Trustee to
credibly allege insolvency in any future amended complaint.


                                          26
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for the purpose of additional analysis and are not a required part of the basic

consolidated financial statements.” Therefore, TrashMasters chose to disclose

more information than required to its lenders, investors, customers, and creditors.

This additional information was also subject to audit procedures. See Reply Decl.,

Exh. N at 17.

      The actual Consolidated Balance Sheets that are part of the financial

statement (rather than part of the Supplemental Information) show the consolidated

entity was solvent through 2012 by substantial margins even where goodwill is not

considered an asset. See Reply Decl. ¶¶ 17-20. From June 2010, the membership

interests in the Debtor were the only asset of TrashMasters. Therefore, solvency of

the consolidated entity demonstrates solvency of the Debtor.

      The Trustee’s contentions that specific line items of a wholly owned

subsidiary such as the Debtor are overstated or understated are inaccurate

contextually and ignore universally accepted accounting rules and regulations

codifying the creation and presentation of consolidated balance sheets. The Trustee

is improperly and illogically attempting to create one-sided accounting entries (a

violation of the “matching principal” of accounting, created approximately 600

years ago), and is focusing on transactions that are required to be eliminated in

consolidation to contend that assets should be eliminated and misstate or misapply




                                          27
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liabilities to support a facially false argument that the Debtor was insolvent from

inception.

      The general concept of consolidating affiliated companies is always the

same; intercompany items such as payables, receivables, profits, and losses are

eliminated so that consolidated statements show only the interests of outsiders. The

consolidated statements reflect the affairs of the parent and subsidiary as a

consolidated entity that does not have claims to and from itself. Consequently, all

accounts classified as assets on one affiliate’s balance sheet for which the

originating transaction created a liability on the balance sheet of a second affiliate

are eliminated. Failing to eliminate these accounts would violate several

fundamental rules of financial reporting. Under the financial presentation standards

recognized by GAAP and codified under the Financial Accounting Standards

Board’s Accounting Standards Codification Topic 810: Consolidation (and its

predecessor standards Financial Accounting Standards Board Statement 94:

Consolidation of All Majority-owned Subsidiaries), as well as Accounting

Research Bulletin 51, ARB 43 and Accounting Principles Board Opinion 18, the

financial statements of Rolloffs Hawaii, LLC and TrashMasters, LLC are required

to be consolidated.




                                          28
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                          (i)   The Trustee’s Specific Contentions.

                                a)   Due From Related Parties.

      The Trustee’s contention that $1,382,698 shown on the Consolidating

Balance Sheet for 2009 as Due from Related Parties is overstated (Opposition at

50) not only ignores several GAAP accounting standards but is also contrary to the

fundamental rules and purpose of consolidation accounting. In addition, the

Trustee is mischaracterizing the amount due from a third party, and then

inappropriately applying the concept of collectability. The almost $1.4 million is

an intercompany account that is eliminated in consolidation. Even though such

transactions eliminate (sum to $0) in the preparation of consolidated financial

statements, application of GAAP requires that they are accurately and completely

recorded. Indeed, the actual consolidated balance sheet (Reply Decl., Exh. N at 2)

eliminates this amount. The Trustee’s assertion that the almost $1.4 million should

be another amount violates GAAP. Failure to record transactions violates the

GAAP principals of transparency, accuracy, and completeness. If, as the Trustee

suggests, the $1,382,698 due from a related party receivable was reduced by $1.2

million, a series of improper one-sided accounting entries would be required and

the matching principal would be violated.




                                         29
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                                b)   Line of Credit & Current Maturities of
                                     Debt/ Long Term Debt and ROHI Debt.

      Under the rules of consolidation accounting, it is impermissible and

misleading to evaluate the balance sheet of the Debtor (the consolidated

subsidiary) as a standalone entity. Companies required to consolidate present only

those assets and liabilities due from or due to outsiders; presenting one-sided,

intercompany transactions (payables, receivables, income, and loss) is misleading

and violates the GAAP principles of matching, transparency, completeness, and

accuracy. The placement of the long-term debt to Union Bank and the ROHI Note

at TrashMasters on the consolidating balance sheet has no impact on the

consolidated balance sheet where all of the assets and liabilities to outsiders are

required to be consolidated. As the consolidated balance sheet for 2009 shows, the

consolidated entity’s assets (excluding goodwill) exceeded its liabilities by over

$3,000,000.

                                c)   PP&E (Property, Plant and Equipment).
      The Trustee’s use of pretransaction closing projected balance sheets as a test

of solvency and to discredit the audited financial statements and balance sheets is

wholly inappropriate. These pretransaction projected balance sheets were a

preclosing diligence request of Union Bank, meant to be indicative of the

postclosing balance sheets, as evidenced by the fact that they were also compiled,

and not audited. After the close of the transaction, as is normal practice, the post-


                                          30
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closing balance sheet is prepared that (i) consolidates entities if applicable and (ii)

allocates the purchase price in accordance with GAAP across the assets and

liabilities of the company. This is an area of particular and intense scrutiny of the

audit and tax advisors, and the reason why the consolidated posttransaction-closing

balance sheet of the consolidated company is the correct one to analyze, and

represents the starting point of the audits required by Union Bank and other

lenders. During this process, based on the purchase price of the company, related

accounting rules, and the market value of the assets, an additional approximately

$4 million of the purchase price of the acquired assets was allocated to PP&E over

what was shown in the preclosing forecasted balance sheet.

                           (ii) Both the Consolidated and Consolidating
                                Balance Sheets Show the Debtor Was Solvent.
      Even the 2009 Year End Consolidating Balance Sheet attached as part of

Exhibit A to Mr. Klevansky’s declaration shows the Debtor was clearly solvent if

the “due from related party” amount of $1,382,698, goodwill, and Debt Issuance

Costs are eliminated as assets and the ROHI Debt ($1,000,000), Union Bank Debt

($3,850,000), and the line item for Current Maturities of Long Term Debt

($642,857) are treated as liabilities of the Debtor as the Trustee argues. This

would leave the Debtor with tangible net assets of $8,043,922 (ROH total assets

$11,289,511, less due from related Party $1,382,698, less Goodwill $1,862,891,

less Debt Issuance Costs $117,210) and liabilities of $7,063,441 (ROH total


                                          31
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liabilities $1,570,584, plus Union Bank debt $3,850,000, plus ROHI note

$1,000,000, plus Current Maturities of Long Term Debt $642,587). This leaves the

Debtor with tangible net worth of $980,481. As explained above, there is no

legitimate basis to reduce the amount of PP&E stated in the audited balance sheets

based on preclosing forecasts that had not allocated the purchase price of the assets

acquired to PP&E.

      Exhibit R to the Reply Declaration is a spreadsheet created from the data in

the Consolidating Balance Sheet for the year ended 2009, which was attached to

the Declaration of Mr. Klevansky. The data under the first heading “Rolloffs

Hawaii, LLC-Audited Consolidating Balance Sheet for the Year Ended 12/31/09”

is taken directly from the consolidating balance sheet except the adjustments

shown above have been made. The second heading—“Testing, Analyses & other

Relevant Data. “Test 1: Total assets minus total liabilities”—shows Members’

Equity, which mathematically is the difference between all of the Debtor’s assets

and liabilities. “Test 2: Results of Test 1 minus all intangible assets (Goodwill,

Intangible assets & Debt issuance costs)” shows “Tangible Net Worth”;

mathematically, Members Equity minus all intangible assets equals Tangible Net

Worth. The results show that the Debtor’s tangible net worth (assets) substantially

exceeded its liabilities for the year ended 2009 even after adjustments made to




                                          32
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address the Trustee’s misleading claims that certain items were overstated or

understated on the consolidating balance sheet.

                     (b) Cash-Flow Test.
      The Trustee claims to have alleged cash-flow insolvency by suggesting that

the accrual of the Advisory Fee debt,34 as well as the existence of the proof of

claim filed by the City & County of Honolulu (“C&C”), and accrued liabilities

associated therewith, suggest the Debtor was not generally paying its debts as they

became due. See Opposition at 46-47.

      Authorities in the Motion to Dismiss make clear that this test “‘requires a

more general showing of the debtor’s financial condition and debt structure than

merely establishing the existence of a few unpaid debts.’” Motion to Dismiss at 33

(citing Liberty Tool & Mfg. v. Vortex Fishing Sys. (In re Vortex Fishing Sys.), 277

F.3d 1057, 1072 (9th Cir. 2001), quoting In re Dill, 731 F.2d 629, 632 (9th Cir.

1984)). Further, the Trustee did not allege the time period in which the Debtor was

allegedly not paying its debts as they became due.


34
  The Trustee’s suggestion that the Advisory Fees were not being paid as they
came due is especially odd given the Trustee’s insistence that recouping the
Advisory Fees was the lynchpin of the Debtor’s “fraudulent scheme.” Further, the
payment dates set forth in the Complaint make clear the Debtor was generally
paying the Advisory Fees. To the extent the Debtor chose to pay other debts ahead
of the Advisory Fees and paid the Advisory Fees after they became due, such
action is not consistent with an attempt to hinder, delay, or defraud the Debtor’s
other creditors and completely undermines the Trustee’s theory of the case.


                                         33
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         Finally, C&C’s claim of $3 million (which the Trustee asserts was accruing

at approximately $500,000-$800,00035) at most suggests the Debtor accrued

liabilities to C&C in the months before the Petition Date, and long after any of the

challenged transfers were made.36 Accordingly, the Trustee did not sufficiently

allege cash flow insolvency, and certainly did not allege cash flow insolvency as of

any relevant date.

                  (3) Additional Insolvency Allegations.
         Although not a factor in any cited insolvency test, the Trustee argues

(without authority) that Convergent’s participation in the 2012 refinancing

demonstrates insolvency because the interest rate on the loan was 16.5%. See

Opposition at 48-50. The Trustee ignores that the 2012 Convergent Loan was for

only a portion of the refinancing and the far larger portion ($4.3 million) was

loaned by ASB at an interest of 3.65%, the overall impact of the 2012 refinancing

was to reduce the blended costs of the Debtor’s borrowing. See Motion to Dismiss

at 40-41. If anything, the lower blended cost of the debt associated with the 2012

refinancing suggests the Debtor was in an improved financial position.

         The Trustee’s contention that insolvency can be inferred from an alleged

unspecified covenant default on the Union Bank debt is also without authority. See

35
     See Opposition at 47.
36
  In fact, the Debtor maintained an outstanding balance with C&C that was stable
and agreeable to the C&C until 2016.

                                           34
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Opposition at 48. The Trustee has not described the nature of the default or made

any connection between it and the Debtor’s purported insolvency.

      Finally, the fact that the Debtor remained in business until 2016 further

belies any suggestion of “insolvency” at the time of the challenged conduct. See,

e.g., Allstate Ins. v. Countrywide Fin. Corp., 842 F. Supp. 2d 1216, 1229 (C.D.

Cal. 2012) (the fact that the alleged insolvent company “still exist[ed] four years

later” undermines insolvency allegations).

      Accordingly, each of the constructive fraudulent-transfer counts should be

dismissed on the grounds that the Complaint fails to set forth sufficient

nonconclusory facts to demonstrate insolvency. Moreover, the Trustee’s attempt to

offer new allegations fails to demonstrate his ability to allege sufficient facts in an

amended complaint.

     3.   The ROHI Payoff Counts Must Be Dismissed With Prejudice
          (Counts XXXVIII-XLIV).
      Defendants do not assert that the ROHI Payoff was made on account of an

antecedent debt, as suggested by the Opposition. See Opposition at 40-41. Rather,

Defendants showed from the face of the Complaint and the documents referenced

therein, that that the ROHI Payoff was not made by the Debtor because it was

made to ROHI directly from the proceeds of the 2012 Convergent Loan to both

TrashMasters and the Debtor. See Motion to Dismiss at 62-64. The Trustee has not




                                          35
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responded to this fatal flaw and, therefore, all fraudulent transfer counts related to

the ROHI Payoff must be dismissed.

       4.   The Colbeck Payment Count Must Be Dismissed (Count LII).
         The Defendants do not assert that the Colbeck Payments were made on

account of an antecedent debt of the Debtor, as suggested by the Opposition. See

Opposition at 41-42. Rather, the Motion to Dismiss argued that, inter alia, details

of the Colbeck Payments were not provided and the Trustee did not allege

sufficient details to state a claim, and further that the constructive fraudulent-

transfer counts failed because the Complaint did not adequately allege lack of

reasonably equivalent value with respect to the Colbeck Payments. See Motion to

Dismiss at 72-76.

         While the Opposition states the Debtor paid at least $417,869 in fees to

Colbeck Consulting and/or Mr. Colbeck,37 that information is not provided in the

Complaint (the Complaint provided no information as to the amount other than

referencing $6,000 per week, but did not list the number of alleged weekly

payments38). In addition, the Complaint does not even allege that the Debtor made

all of the Colbeck Payments, stating: “Upon information and belief, the Debtor

paid to Colbeck and/or Colbeck Consulting substantially all of the payments made

37
     Opposition at 15-16.
38
     Complaint ¶ 169.


                                           36
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in connection with the Consulting Agreement.” Complaint ¶ 170 (emphasis added).

The Trustee has all of the Debtor’s records; there is no justification for his failure

to allege details of the Colbeck Payments made by the Debtor.

      While the Trustee may be entitled to file an amended complaint to correct

his failure to detail the transfers—assuming the Court finds he is able to allege

other elements of the claims—the count as set forth in the Complaint related to the

Colbeck Payment as currently pleaded must be dismissed.

      Similarly, dismissal is required as a result of the Trustee’s failure to

plausibly allege lack of reasonably equivalent value. (Complaint paragraph 567

contains only a conclusory recitation that the Debtor did not receive reasonably

equivalent value.) This allegation is implausible because the Trustee has

acknowledged that TrashMasters was a holding company without operations or

revenue (Complaint ¶ 40) and that Mr. Colbeck was retained an interim Chief

Operating Officer. Since the Debtor was the only entity with operations, Mr.

Colbeck’s services were provided to the Debtor and properly paid for with revenue

generated by the Debtor. Again, the Trustee’s position seems to be that Mr.

Colbeck was required to work for free for the Debtor because his Consulting

Agreement was with TrashMasters rather than the Debtor. However, from the

standpoint of the Debtor’s creditors, whether Mr. Colbeck was hired by

TrashMasters or the Debtor is a difference without a distinction: Either way, his


                                          37
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role was to oversee the operations of the Debtor and the value of his services was

provided to the Debtor.

         Moreover, it is undisputed that Mr. Colbeck was an unrelated third party and

the Consulting Contract at issue was made at arms’ length, so the Trustee’s

allegations that the payments were made to hinder, delay, or defraud creditors are

without factual support.

         Accordingly, Count LII, related to the Colbeck Payments, must be

dismissed.

B.     Derivative Counts.

       1.   Derivative Counts Must Be Dismissed on Basis of Group Pleading
            (Counts LIII – LXI).
         The Trustee acknowledges that “a plaintiff, at minimum, must identify the

role of each defendant in the alleged fraudulent scheme”39 and further that group

pleading is only permissible to describe “the actions of multiple defendants who

are alleged to have engaged in precisely the same conduct.”40

         The Trustee relies on the following quote to support the purported viability

of his group pleading:

               where the corporate officers are a narrowly defined group
               charged with day-to-day operations of a public

39
     Opposition at 60 (quoting Moore, 885 F.2d at 540).
40
  Opposition at 60-61 (citing United States v. United Healthcare Ins. Co., 848
F.3d 1161, 1184 (9th Cir. 2016)).

                                           38
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             corporation, it is reasonable to presume that these officers
             had the power to control or influence the particular
             transactions giving rise to the securities violation. . . . [I]t
             is not necessary to show actual participation or the
             exercise of actual power.

Opposition at 61 (quoting Flood v. Miller, 35 Fed. App’x 701, 703 (9th Cir.

2002)). However, Flood does not address group pleading; rather, the quote

addresses whether being charged with day-to-day operations demonstrates control.

In fact, the roles of each Defendant were supplied with precision. Flood does not

enable this Court to allow the Trustee’s group allegations to survive the Motion to

Dismiss.

      In Moore, the court affirmed dismissal of a complaint, alleging “the

defendants, and each of them, devised, intended to devise and carried out, a

scheme to defraud . . .” because the plaintiff had not identified the time, place, and

manner of each fraud plus the role of each defendant in each scheme. Moore, 885

F.2d at 540-541. Moore clearly does not countenance group pleading.

      United States v. United Healthcare Ins. Co., 848 F.3d 1161, 1184 (9th Cir.

2016 is of no help to the Trustee because it reiterates the well-settled prohibition

against group pleading but notes the existence of a narrow exception where

defendants have engaged in precisely the same conduct. Discussing the general

rule, the Ninth Circuit in that case clearly states:

             ‘Rule 9(b) does not allow a complaint to merely lump
             multiple defendants together but requires plaintiffs to


                                           39
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             differentiate their allegations when suing more than one
             defendant and inform each defendant separately of the
             allegations surrounding his alleged participation in the
             fraud.’

United Healthcare, 848 F.3d at 1184, (quoting United States v. Corinthian

Colleges, 655 F.3d 984, 997-98 (9th Cir. 2011) ).

      The Ninth Circuit found the complaint “lack[ed] sufficient detail to satisfy

Rule 9(b)” as to certain of the grouped defendants because plaintiff failed to

“allege particular details of the scheme as applied to [certain] defendants.” Id., at

1167, 1184. The court found allegations insufficient where they did not show the

“factual basis” for the allegations, even where the allegations gave defendants

notice of the particular misconduct alleged to constitute the fraud charged so that

they could defend against the charge. “The allegations describe some details of a

generalized scheme, but they provide no details linking these defendants to the

scheme. Such allegations are insufficient under Rule 9(b).” Id. at 1182. The court

found the complaint’s allegations sufficient against certain other defendants only

where it “offers more than broad allegations lacking supporting detail and provides

a strong factual basis for [plaintiff’s] claims.” Id. at 1181.

      The Trustee does not, and cannot, allege that each of the Grouped

Defendants engaged in precisely the same conduct and fails to allege any details of

the scheme as applied to each of the Grouped Defendants as the Ninth Circuit




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mandates. United States v. United Healthcare Ins. Co. therefore requires dismissal

of each count relying on group pleading.

      The Trustee does not identify the role of each Officer and Director in the

alleged fraudulent scheme or allege that the Officers and Directors engaged in

precisely the same conduct. In fact, any allegation that they did would be

implausible because they had different roles at different entities.

      The Trustee’s group pleading extends not just to the twelve individuals

comprising the Officers and Directors (each of whom had different roles at

different entities at different times), the Trustee group pleads the Corridor Entities,

(three separate entities with different ownership and management structures and

relationships with the Debtor), group pleads the SPB Entities (five separate entities

with different ownership and management structures and relationships to the

Debtor), and, ultimately, group pleads the twenty individuals and entities that made

up all of those groups along with TrashMasters.41


41
  See, e.g., Count LIII (“An agreement existed between and among TrashMasters,
the Officers and Directors, the Corridor Entities and the SPB Entities”); Count LIV
(“TrashMasters, the Officers and Directors, the Corridor Entities and the SPB
Entities benefited from said fraudulent transfers”); Count LV (“TrashMasters, the
Officers and Directors, the Corridor Entities, and the SPB Entities engaged in self-
dealing”); Count LVI (“TrashMasters, the Officers and Directors, the Corridor
Entities, and the SPB Entities directly benefitted from their breach of their duty”);
Count LVII (“TrashMasters, the Officers and Directors, the Corridor Entities,
and the SPB Entities breached their duty”); Count LVIII (“Officers and Directors
were in agreement and conspired among and between each other and
TrashMasters, the Corridor Entities, and the SPB Entities to breach their fiduciary

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         The Trustee attempts to hide behind new discovery requests42 (although the

Trustee has already conceded receipt of voluminous discovery43), but a plaintiff

must know the bases of alleged claims and the parties against whom they are made,

before asserting them. See Barker v. JP Morgan Chase Bank, No. 11-00579, 2016

U.S. Dist. LEXIS 87945, at *31 (D. Ore. July 7, 2016) (claims formulated as part

of a “fishing expedition” to find through discovery what plaintiff does not yet

know are not a permissible use of a complaint); see also Riis v. Does, No. 17-CV-

03017, 2017 U.S. Dist. LEXIS 185953, at *12 (D.S.D. Nov. 9, 2017) (noting the

importance of evaluating whether conspiracy allegations are part of a viable claim

or simply inserted into the Complaint to facilitate a fishing expedition).

         Further, the argument that the Defendants are the “only holders of []

information” that would allow him to adequately plead is absurd.44 The Trustee has

all of the Debtor’s records and all of the Defendants’ prepetition records relating to




duties to the Debtor”); Count LIX (“TrashMasters, the Officers and Directors, the
Corridor Entities, and the SPB Entities knew the Officers and Directors’ conduct
constituted a breach”); Count LX (“The Corridor Entities and the SPB Entities
were alter egos of TrashMasters and the Officers and Directors, and each other”);
Count LXI (“Defendants have been unjustly enriched”).
42
     Opposition at 62.
43
     See, supra, n. 5.
44
     Opposition at 62.

                                           42
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the Debtor, including all corporate records, such as board records and minutes,

emails, and transaction documents.

      Accordingly, each of the derivative counts (Counts LIII – LXI) must be

dismissed for impermissible group pleading.

     2.   Breach-of-Fiduciary-Duty Claims Are Not Cognizable (Counts LV-
          LVII).

          a.   Trustee Cannot Allege Any Party Other Than TrashMasters
               Owed Fiduciary Duties to the Debtor.

      Fiduciary duties owed to a manager-managed LLC are statutorily prescribed,

as set forth in the Motion to Dismiss and, as applied to the Debtor, provide that

only TrashMasters owed a fiduciary duty to the Debtor. See Motion to Dismiss at

86-90.

      In fact, an officer of an LLC does not owe fiduciary duties based on status as

an officer. Motion to Dismiss at 89 (citing 800 S. Wells Commercial LLC v.

Cadden, 103 N.E.3d 875, 884-85 (Ill. App. 2018) (LLCs are statutorily formed and

governed and corporate fiduciary duties do not apply; the LLC statute speaks

precisely to the issue of who owes what duties to the company, and finding

defendant’s role as an officer irrelevant under LLC statue that does not expressly

impose fiduciary duties on officers)).




                                         43
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      As highlighted in the Motion to Dismiss at 89-90, officers and directors of a

parent company (here, officers and directors of TrashMasters) do not owe fiduciary

duties to a subsidiary (here, the Debtor).

      The Trustee does not address this authority, instead relying on In re

USACafes, L.P. Litig., 600 A.2d 43 (Del. Ch. 1991). Opposition at 67-68.

USACafes cannot be read to impose fiduciary duties to the Debtor upon the officers

and directors of TrashMasters. USACafes holds that where the officers and

directors of a corporate general partner of a limited partnership received “side

payments” totaling between $15 and $17 million to induce them to sell the assets

of the limited partnership at a below-market price and without exposing the assets

to the market or otherwise informing themselves of value of the assets, a claim for

breach of the duty of loyalty could be pleaded by the limited partners against the

officers and directors of the general partnership under “general principals and by

analogy to trust law” that prohibit one who controls property of another from using

that property for his own benefit and to the detriment of the beneficial owner. In re

USACafes, 600 A.2d at 46-48.

      Moreover, in multiple subsequent decisions, Delaware courts have “sharply

limited the reach of USACafes to situations where the directors of the parent are

engaged in personal self-dealing.” Goodman v. H.I.G. Capital, LLC (In re Gulf

Fleet Holdings, Inc.), 491 B.R. 747, 779 (Bankr. W.D. La. 2013) (finding no


                                             44
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plausible claim that fiduciaries engaged in personal self-dealing, as opposed to

acting for the benefit of the private equity company) (citing Gotham Partners, L.P.

v. Hallwood Realty Partners, L.P., No. 15754, 2000 Del. Ch. LEXIS 146, 2000

WL 1476663 at * 12 (Del. Ch. Sept. 27, 2000)); see also Wenske v. Blue Bell

Creameries, Inc., No. 2017-0699, 2018 Del. Ch. LEXIS 221, *39 (Del. Ch. July 6,

2018) (citing Bay Ctr. Apts. Owner, LLC v. Emery Bay PKI, LLC, No. 3658, 2009

Del. Ch. LEXIS 54 (Apr. 20, 2009) (“In practice, the cases applying USACafes

have not ventured beyond the clear application stated in USACafes: ‘the duty not to

use control over the partnership’s property to advantage the corporate director at

the expense of the partnership.’”) (quoting USACafes, 600 A.2d at 49).

      The Trustee has not alleged facts in the Complaint that would bring the

officers and directors of TrashMasters within USACafes: There are no allegations

that the officers and directors of TrashMasters received any payments or other

tangible benefits in connection with the alleged fraudulent transfers or otherwise

caused those transactions to occur for their personal gain or profit.

          b.    Fiduciary Duties Are Not Expanded When an Entity Becomes
                Insolvent.
      The Trustee states because the Debtor was insolvent and the Debtor was a

creditor of TrashMasters, the officers and directors of TrashMasters became

fiduciaries of the Debtor solely as a result of “insolvency.” Opposition at 68-69.




                                          45
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This argument fails for two independent reasons. First, the Debtor is not a creditor

of TrashMasters.45 Second, the Trustee misstates the law in Delaware.

      In two seminal decisions, N. Am. Catholic Educ. Programming Found. Inc.

v. Gheewalla, 930 A.2d 92 (Del. 2007), and Trenwick Am. Litig. Trust v. Ernst &

Young, 906 A.2d 168 (Del. Ch. 2006),46 Delaware courts have explained that duties

owed to a corporation do not change or expand as it nears insolvency or becomes

insolvent. Rather, creditors simply become the principal residual beneficiaries of

those duties. See Gheewalla, 930 A.2d at 101-02.

      Gheewalla put an end to any notion of shifting duties or a zone of

insolvency. Specifically, the court confirmed that directors’ duties always run to

the corporation, and that creditors become the beneficiaries of these duties only

after a corporation actually becomes insolvent. Upon insolvency, the “creditors

take the place of the shareholders as the residual beneficiaries of any increase in


45
   As set forth in the Reply Declaration and section II.A.2.b(2)(a) of this Reply,
the Debtor and TrashMasters were required to present consolidated financial
statements and balance sheets; intercompany items such as payables, receivables,
profits, and losses are eliminated so that consolidated statements show only the
interests of outsiders. The consolidated financial statements reflect the affairs of
the parent and subsidiary as a consolidated entity that does not have claims to and
from itself. Consequently, all accounts classified as assets on one affiliate’s
balance sheet for which the originating transaction created a liability on the
balance sheet of a second affiliate are eliminated.
46
  Although the opinion in Trenwick was authored by the Delaware Court of
Chancery, the opinion and its reasoning were expressly affirmed by the Delaware
Supreme Court. See Trenwick Am. Litig. Trust v. Billett, 931 A.2d 438 (Del. 2007).

                                          46
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value,” which in turn grants creditors standing to bring derivative—but not direct

— actions. Id. at 101. The court explained:

             When a solvent corporation is navigating in the zone of
             insolvency, the focus for Delaware directors does not
             change: Directors must continue to discharge their
             fiduciary duties to the corporation and its shareholders by
             exercising their business judgment in the best interests of
             the corporation for the benefit of its shareholder owners.

Id.

      In Quadrant Structured Prods. Co., Ltd. v. Vertin, the Delaware Chancery

Court further elaborated:

             The directors of an insolvent firm do not owe any
             particular duties to creditors. They continue to owe
             fiduciary duties to the corporation for the benefit of all of
             its residual claimants, a category which now includes
             creditors. They do not have a duty to shut down the
             insolvent firm and marshal its assets for distribution to
             creditors, although they may make a business judgment
             that this is indeed the best route to maximize the firm’s
             value.

Quadrant Structured Prods. Co., Ltd. v. Vertin, 115 A.3d 535, 546-47 (Del. Ch.

2015) (emphasis added; footnotes omitted).

      Federal courts in Hawaii recognize that Gheewalla and Quadrant

established that directors of an insolvent corporation do not owe fiduciary duties to

creditors under Delaware law. See Mansha Consulting LLC v. Alakai, No. 16-

00582, 2017 U.S. Dist. LEXIS 135407, at *38 (D. Haw. Aug. 23, 2017) (cited and

relied upon by Trustee, Opposition at 70).


                                          47
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      The sole authority cited by the Trustee in support of his false claim that new

fiduciary duties to creditors arise for officers and directors of TrashMasters as a

result of the Debtor’s purported insolvency is Official Committee v. Lozinski (In re

High Strength Steel, Inc.), 269 B.R. 560, 569 (Bankr. D. Del 2001). This case

precedes Gheewalla, Trenwick and Quadrant by many years and, to the extent the

decision can be construed to hold that a corporation’s officers and directors owe

unsecured creditors fiduciary duties, is no longer the law in Delaware. In fact, High

Strength Steel cites and relies upon a 1944 Delaware case that is no longer the law

in Delaware after Gheewalla. 47

      As set forth in the Motion to Dismiss, under Hawaii law, LLC managing

members have substantially narrower duties than corporate directors and officers

(Motion to Dismiss at 86-87) and there is no basis under Hawaii law to impose
47
   Before Gheewalla and Trenwick, uncertainty existed with respect to whether the
fiduciary duties of officers and directors of a corporation expanded in nature and
shifted to creditors upon insolvency or in the zone of insolvency. The genesis of
the idea that duties might be owed directly to creditors of insolvent firms came
from a pre-Gheewalla Delaware case, Bovay v. H.M. Byllesby & Co., 38 A.2d 808,
813 (Del. 1944) (cited and relied upon by High Strength Steel, the sole case cited
by the Trustee on the issue), which described the insolvent firm as property
“administered in equity as a trust” for creditors. Later, a “famous” footnote in the
Credit Lyonnais opinion discussed the potentially divergent interests of creditors
and shareholders in the “vicinity of insolvency.” Quadrant, 102 A.3d at 174
(quoting Credit Lyonnais Bank Nederland NV v. Pathe Commc’ns Corp., 17 Del. J.
Corp. L. 1099, 1159 n.55 (Del. Ch. Dec. 30, 1991)). These and other decisions led
many to conclude that fiduciary duties shift from shareholders to creditors when a
corporation slips into insolvency. Gheewalla put a clear end to any notion of
shifting or expanded duties upon insolvency.


                                          48
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fiduciary duties to the Debtor upon the officers and directors of TrashMasters. See

Motion to Dismiss at 89-90. As demonstrated above, there is no basis under

Delaware law, either.

          c.   Trust-Fund Doctrine Has Not Been Alleged.
      The Opposition incorrectly asserts that under the “trust fund doctrine,” as

applied in Hawaii, creditors may look to the personal assets of Ms. Davis, Mr.

Enenstein and Mr. Monnier, alleged to be officers or directors of the Debtor, for

self-dealing. As set forth in the Motion, the requirements of the trust-fund doctrine

have not been pleaded in the Complaint. Motion to Dismiss at 94 (citing Mansha

Consulting LLC v. Alakai, No. 16-00582, 2017 U.S. Dist. LEXIS 135407, at *24-

25, 31 (D. Haw. Aug. 23, 2017) (the trust fund doctrine does not apply until the

corporation becomes hopelessly insolvent and unable to carry out objects for which

it is created and determines to discontinue the prosecution of business)). Because

the Trustee did not (and cannot) allege that the Debtor had determined to

discontinue its business at the time of any of the challenged transactions, he cannot

state cognizable a claim for breach of duty under the trust-fund doctrine.48


48
  The Trust Fund Doctrine under Hawaii law provides, where the requirements are
met, for a fiduciary duty by directors to creditors rather than to the corporation.
The Trustee lacks standing to bring claims on behalf of creditors. See Caplin v.
Marine Midland Grace Tr. Co., 406 U.S. 416 (1972); Williams v. Cal. 1st Bank,
859 F.2d 664, 666 (9th Cir. 1988). Therefore, even if the requirements of the Trust
Fund Doctrine had been plead, the Trustee would not have standing to bring a
claim against the Defendants pursuant to that doctrine.

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          d.   Veil Piercing Does Not Confer Fiduciary Duties.
      The Trustee suggests that breach-of-fiduciary-duty claims are properly

alleged against (i) SPB Waste, (ii) Corridor TM, (iii) Mr. Asay, Sr., (iv) Mr. Asay,

Jr., (v) ROHI, and (vi) KNG, as well as any officers and directors of TrashMasters

on a veil-piercing theory. Opposition at 71-72.

      Veil piercing is a remedy that would allow the Trustee to collect against alter

egos of TrashMasters, if TrashMasters were found liable for breach of duty and

SPB Waste, Corridor TM, Mr. Asay, Sr., Mr. Asay, Jr., ROHI, KNG, and the

officers and directors of TrashMasters were found to be alter egos of TrashMasters.

It does not operate to impose fiduciary duties to purported alter egos of a fiduciary

and allow the Trustee to state independent claims for breach of duty against

persons or entities that do not owe such duties. See Colemans Haw. v. Ching, No.

22879, 2001 Haw. App. LEXIS 93, at *10 (April 27 2001).

          e.   Breaches of Fiduciary Duties Under Hawaii LLC Statute Have
               Not Been Pleaded.
      The facts alleged in the Complaint do not state claims for breach of fiduciary

duties.

      In Hawaii, the duty of loyalty owed by a manager to an LLC includes only

accounting for property, profits, or benefits; refraining from dealing with the

company as an adverse party; and refraining from competing with the company.

Haw Rev. Stat. § 428-409(h). The duty of care is limited to solely to refraining


                                         50
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from engaging in grossly negligent or reckless conduct, intentional misconduct, or

a knowing violation of law. See id. § 428-409(c) (applicable by Haw. Rev. Stat. §

428-409(h)).

      As set forth in the Motion to Dismiss, the Complaint alleges the following as

breaches of fiduciary duties:

                  directing and authorizing the fraudulent conveyances and
                   fraudulent transfers set forth in Counts I-LII for their own
                   benefit and to the detriment of creditors, and incurring loans
                   and causing the Debtor’s assets to be encumbered for that
                   purpose (Complaint ¶¶ 610-12, 621-22, 627-630).

                  structuring the organization of the Debtor, TrashMasters and
                   certain of the Corridor Entities and the SPB Entities for their
                   own benefit to insulate them from liability (Complaint ¶ 618).

                  sitting on all sides of the Advisory Agreement, which was
                   unfair and overcompensated the Officers and Directors, the
                   Corridor Entities and the SPB Entities (Complaint ¶¶ 619-21).

                  expanding the Company’s debt, leveraging its assets and
                   prolonging the corporate life of the Debtor (Complaint ¶¶ 613,
                   631).

Motion to Dismiss at 91-92.

      None of these allegations constitutes a breach of the very limited fiduciary

duties imposed under the Hawaii LLC statute. Further, Hawaii law is clear that a

manager/fiduciary “does not violate a duty or obligation under this chapter or

under the operating agreement merely because the [manager’s] conduct furthers

the [manager’s] own interest.” Haw. Rev. Stat. § 428-409(e).



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        The Opposition contends that TrashMasters violated the following fiduciary

duty:

              To account to the company and to hold as trustee for it
              any property, profit, or benefit derived by the member in
              the conduct or winding up of the company's business or
              derived from a use by the member of the company's
              property, including the appropriation of a company's
              opportunity.

Haw. Rev. Stat. § 428-409(b)(1); Opposition at 73. However, this section deals

with any property derived and held by a manager/member of the LLC rather than

property held by the LLC itself. In other words, the manager/member of an LLC, if

the manager/member holds the LLC’s property, must hold it as a trustee for the

LLC. There is no allegation that TrashMasters (or any of the Defendants) held the

Debtor’s property or profits and did not turn any such property over completely to

the Debtor. In fact, each of the alleged fraudulent transfers was alleged by the

Trustee to have been made by the Debtor, with fraudulent intent on the part of the

Debtor.

        None of the acts alleged constitute grossly negligent or reckless conduct,

intentional misconduct, or a knowing violation of law. Nor do any of the acts

alleged constitute acting as a party having an adverse interest to the Debtor.

        Finally, the Trustee states he wishes to amend the Complaint to bring

additional claims for “breach of its duty of care in understating the Debtor’s debts




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an overvaluing the Debtor’s assets.” Opposition at 74. As set forth in the Reply

Declaration, there is no principled basis to make this allegation.

           f.   Actions Were Ratified by TrashMasters.
      As set forth in section II.A.2.b, the Complaint does not allege insolvency at

any relevant point in time, nor has the Trustee demonstrated that he will be able to

allege solvency. Accordingly, any conduct constituting a breach of duty was

ratified by TrashMasters. See Motion to Dismiss at 92-93.

      Ultimately, the breach-of-fiduciary-duty claims fail for a multitude reasons:

group pleading; only TrashMasters owed the Debtor any fiduciary duties; the

Trustee did not allege any actions that constitute a breach of the narrow fiduciary

duties owed; and because insolvency was not alleged in the Complaint, all actions

were ratified by TrashMasters. The claims must be dismissed with prejudice.

     3.    The Trustee’s Conspiracy Claims Must Be Dismissed (Counts LIII,
           LIV, LVIII).
      The conspiracy counts require the existence of an underlying tort. See

Motion to Dismiss at 78, 95. Because both the fraudulent-transfer counts and

breach-of-fiduciary-duty counts must be dismissed, the Trustee’s conspiracy

claims also fail.




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          a.   Conspiracy to Commit Fraudulent Transfers (Counts LIII,
               LIV).

               (1) Conspiracy to Commit Fraudulent Transfers Is Not a
                   Legally Cognizable Claim.
      In opposing dismissal of Counts LIII and LIV for conspiracy to commit

fraudulent transfers (Opposition at 75-83), the Trustee ignores “overwhelming”

authority holding that parties cannot be liable to a bankruptcy estate for simply

participating in a fraudulent transfer, and mischaracterizes the authorities on

which he attempts to rely.

      Contrary to the Trustee’s representation (without authority), the numerous

cases holding that a bankruptcy trustee is prohibited from prosecuting claims for

conspiracy to commit fraudulent transfers do not distinguish between the trustee’s

pursuit of such claims on behalf of creditors rather than on behalf of the debtor.

The prohibition is against the prosecution of such claims on behalf of the estate.

Motion to Dismiss at 82-84. The Trustee conflates the well-settled principle that

a bankruptcy trustee lacks standing to bring claims solely on behalf of creditors49

with the many cases cited by the Defendants holding that a bankruptcy trustee

cannot invoke state law remedies to circumvent the sole remedy provided by

Congress for the avoidance and recovery of fraudulent transfers under

49
  See Caplin, 406 U.S. 416 (under Bankruptcy Act, trustee lacked standing to
bring a damage action on behalf of bondholders against the agent charged with
protecting their interests); Williams, 859 F.2d at 665.


                                          54
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Bankruptcy Code sections 544 and 550. The Trustee’s argument that these cases

only apply when a trustee is bringing claims on behalf of creditors defies logic

and common sense; bankruptcy trustees have no standing to bring any claims

solely on behalf of creditors, but only have standing to being claims belonging to

the debtor under Bankruptcy Code section 541 or pursuant to the trustee’s powers

under 544. None of the cases cited by Defendants in their Motion at 82-84 draw

the distinction the Trustee is urging upon the Court.

      Specifically, Paloian v. Greenfield (In re Restaurant Dev. Grp., Inc.), 397

B.R. 891 (Bankr. N.D. Ill. 2008), is the sole case cited by the Trustee in which a

bankruptcy court declined to dismiss claims for conspiracy to commit fraudulent

transfers. Paloian has been roundly criticized by the court that decided it50 and

utterly disregarded—to this day it has never been followed by another court to

permit such claims to proceed.

      The Trustee’s reliance on Drabkin v. L & L Constr. Assocs. (In re Latin

Inv. Corp.), 168 B.R. 1, 4 (Bankr. D.D.C. 1993), and Audette v. Kasemir (In re

Concepts Am., Inc.), No. 16-691, 2018 Bankr. LEXIS 602, at *3-4 (Bankr. N.D.


50
  Gierum v. Glick (In re Glick), 568 B.R. 634, 677 (Bankr. N.D. Ill. 2017)
(“Paloian is unpersuasive” and observing that the Paloian court only considered
applicable state law and failed to consider the obstacle that section 550(a) poses to
claims against those who merely participate in a fraudulent transfer under sections
548(a) and 544(b). The court held “parties who neither received transferred
property nor benefited from a fraudulent transfer in some other way are not subject
to liability.”).

                                         55
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Ill. March 1, 2018), are of no avail. Drabkin deals only with a trustee’s standing

to bring claims for conspiracy to defraud and does not address a bankruptcy

trustee’s ability to bring claims for conspiracy to commit fraudulent transfers.

Similarly, In re Concepts only permitted the trustee’s claims for conspiracy to

commit fraud (unrelated to a fraudulent transfers) to survive a motion to dismiss.

In dismissing claims for aiding and abetting a fraudulent transfer the court made

the familiar observation that “‘[o]verwhelmingly, courts have concluded that

parties cannot be liable for a fraudulent transfer if all they have done is participate

in it.’” Id. at *34 (quoting Glick, 568 B.R. at 677) (section 550 provides that to

the extent a transfer is avoided as a fraudulent transfer under section 544 and

applicable state law, a trustee’s recovery is limited to the property transferred or

the value of such property from “the initial transferee of such transfer or the

entity for whose benefit such transfer was made; or any immediate or mediate

transferee of such initial transferee”). The Trustee also cites to Miller v.

Greenwich Capital Fin. Prods. (In re Am. Bus. Fin. Serv., Inc.), 384 B.R. 66, 76

(Bankr. D. Del. 2008), however, no case with that citation exists. Assuming the

Trustee is referring to 384 B.R. 80, this case does not address a bankruptcy

trustee’s ability to bring claims for conspiracy to commit fraudulent transfers but

instead deals with general claims of conspiracy to defraud. Id. at 92.




                                           56
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      Finally, the Trustee argues that state courts have allowed conspiracy claims

for fraudulent transfers, citing McElhanon v. Hing, 151 Ariz. 403, 728 P.2d 273,

278 (1986); Paloian, 397 B.R. at 897; Banco Popular N. Am. v. Gandi, 184 N.J.

161, 876 A.2d 253 (2005); and Dalton v. Meister, 71 Wis. 2d 504, 239 N.W.2d 9

(1976). None of these cases involves a bankruptcy trustee’s attempt to pursue

claims for conspiracy to commit fraudulent transfers; therefore, the limited

remedy of Bankruptcy Code section 550 was not implicated. As set forth in the

Motion to Dismiss at 82-83, the Ninth Circuit has held that whether state law

recognizes a claim for conspiracy to commit a fraudulent transfer is irrelevant

when the claim is brought by a bankruptcy trustee whose ability to bring claims

related to fraudulent transfers under state law is limited by Bankruptcy Code

sections 544 and 550, which only permit the trustee to avoid a fraudulent transfer

and recover from transferees or entities for whose benefit the transfer was made.

Wyle v. Howard, 176 B.R. 895, 902 (Bankr. N.D. Cal. 1995), aff’d, 196 B.R. 532

(N.D. Cal. 1995), aff’d, 114 F.3d 991 (9th Cir. 1997).

                (2) The Trustee Has Not Alleged the Debtor Made Transfers
                    With Actual Intent to Hinder, Delay, or Defraud.
      The Motion to Dismiss explains that the Trustee’s claims for conspiracy to

commit fraudulent transfers also fail because the Debtor was alleged to have not

only participated in the alleged fraudulent transfer, but was the party who made

the alleged fraudulent transfers with actual intent to hinder, delay, or defraud its


                                          57
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creditors, and the doctrine of in pari delicto applies when the Debtor is a co-

conspirator. See Motion to Dismiss at 81-82 (citing Complaint ¶¶ 207, 233, 257,

281, 293, 316, 333, 339, 359, 378, 388, 411, 428 434, 454, 474, 480, 498, 519,

527, 547 and 566).

      The Trustee now argues in the Opposition that the Debtor was not an

alleged co-conspirator, recasting the counts as a conspiracy to cause the Debtor’s

insolvency. See Opposition at 78 (“The Debtor in this case was not a co-

conspirator and was never alleged to be one in the Complaint. Instead, the

Trustee alleged that TrashMasters, and the Officers and Directors, caused the

Debtor’s insolvency.”). However, the counts are for conspiracy to commit

fraudulent transfers, not conspiracy to commit insolvency.51

               (3) The Complaint Does Not State Claims for Conspiracy to
                   Commit Fraudulent Transfers.
      The Opposition reiterates that the conspiracy to commit fraudulent-transfer

counts are based on the conclusory allegation that the Grouped Defendants

“directed the fraudulent conveyances and transfers” and suggests this conclusory



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   The Trustee further attempts to obfuscate his multiple allegations of actual
fraudulent intent on the part of the Debtor, arguing that Defendants cannot argue
that any of its actions were imputed to the Debtor. Defendants do not and have not
attempted to argue that in pari delicto applies because of conduct imputed to the
Debtor; in pari delicto applies because the Complaint alleges the Debtor actually
made the transfers with fraudulent intent.


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allegation is sufficient to allege conspiracy. It is not. See Motion to Dismiss at

84-86.

      The Trustee argues that if he has pleaded the underlying claims for

fraudulent conveyances and transfers with sufficiency, the civil conspiracy aspect

need not be pleaded with further particularity. See Opposition at 82 (citing

FirstMerit Bank, N.A. v. Hosseini, No. 14-8749, 20145 U.S. Dist. LEXIS 90388,

at *30 (N.D. Ill. July 13, 2015).

      The Trustee’s position contradicts Supreme Court authority, cited in the

Motion to Dismiss, holding that conspiracy claims must include enough

specificity regarding the time, place, and persons involved in making the

conspiratorial agreement, and to show that an actual agreement was reached. See

Twombly, 550 U.S. at 565 n.10 (a defendant responding to conspiracy claims

“would have little idea where to begin” if the pleadings “mentioned no specific

time, place, or person involved in the alleged conspiracies”); see also Fullman v.

Graddick, 739 F.2d 553, 557 (11th Cir. 1984) (“A complaint may justifiably be

dismissed because of the conclusory, vague and general nature of the allegations

of conspiracy.”).

      Further, the alleged facts in Hosseini went far beyond mere the vague

conclusory allegations in the Complaint. The allegations of the alleged fraud, by

their nature, demonstrated a conspiracy: Party 1 experienced financial


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difficulties. To evade an existing debt, he transferred real property as part of a

fraudulent scheme: the property was transferred from Party 1 to Party 2, then

from Party 2 to Party 3, and then to Party 1’s sister-in-law, while Party 2 made

payments to Party 1’s brother-in-law at the direction of Party 3. The conspiracy

allegation explained the role of the co-conspirators (Party 2, and the trustee of

Party 3) and their actions in transferring the property and directing payments.

Specifically, the Complaint alleged that “Defendants agreed with each other,

including with [Party 1], to perpetrate the Scheme on [Party 1’s] creditors,

including primarily FirstMerit. . . The Scheme was effectuated by (a) [Party 1]

fraudulently transferring his interests in [Party 2] in violation of the IUFTA, (b)

[Party 2] paying and continuing to pay [Party 1’s brother-in-law] to cheat and

contravene FirstMerit, and (c) [Party 2] transferring the 2250 Property to [Party

1’s sister-in-law] to cheat and contravene FirstMerit.” Hosseini, 2015 U.S. Dist.

LEXIS 90388, at *30. The Complaint further alleged how the scheme was

carried out. Id. at **30-31.

      Among other things, the complaint in Hosseini detailed the specific

involvement of each alleged co-conspirator. In contrast, the Trustee’s Complaint

merely alleges that the Grouped Defendants directed the fraudulent transfers—

there are no facts alleged showing what actions were undertaken by any

individual or entity comprising the Grouped Defendants or even showing how


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any one of them had authority or ability to direct any of the alleged fraudulent

transfers.

      The Trustee’s reliance on Hosseini does not support his contention that he

has sufficiently pleaded the fraudulent-transfer conspiracy counts, and the counts

for conspiracy to commit fraudulent transfers must be dismissed.

             b.   Conspiracy to Commit Breaches of Fiduciary Duties (Count
                  LVIII).

                  (1) No Co-Conspirators Exist to Breach Fiduciary Duties.
      A claim for conspiracy to breach fiduciary duties fails as a matter of law

unless the alleged co-conspirators owe fiduciary duties. See Motion to Dismiss at

95-96.

      As set forth above and in the Motion to Dismiss, TrashMasters is the only

party that owed fiduciary duties to the Debtor, and TrashMasters cannot conspire

with itself. Further, the Opposition could not establish the existence of a fiduciary

duty on the part of any party other than TrashMasters.

                  (2) The Complaint Does Not State Claim for Conspiracy to
                      Breach Fiduciary Duties.

      As set forth in the Motion to Dismiss, the Complaint only offers the

conclusory allegation that the “Officers and Directors were in agreement and

conspired among and between each other and TrashMasters, the Corridor

Entities, and the SPB Entities to breach their fiduciary duties to the Debtor.”



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Complaint ¶ 635. There are no allegations of facts suggesting a conspiracy

existed and the Trustee cites no cases to support an argument that he has

adequately pleaded a claim for conspiracy to breach fiduciary duties.

Accordingly, this count must be dismissed.

     4.   Trustee’s Claim for Aiding and Abetting Are Not Adequately
          Pleaded (Count LVIX).
      As set forth in the Motion, and as noted previously by this Court, any claim

for aiding and abetting a breach of fiduciary duty requires the existence of an

underlying tort. See Motion to Dismiss at 96-97 (citing Molokai Servs. v.

Hodgins, No. XX-XXXXXXX, 2018 Haw. App. LEXIS 92, at *26 (Feb. 28, 2018)).

Because the breach-of-fiduciary-duty counts must be dismissed, the Trustee’s

aiding-and-abetting claim so too must fail.

      As set forth in the Motion to Dismiss, and acknowledged by the Trustee, the

elements of an aiding and abetting a breach-of-fiduciary duties claim are as

follows: “(1) a breach by a fiduciary of obligations to another, (2) that the

defendant knowingly induced or participated in the breach, and (3) that plaintiff

suffered damage as a result of the breach.” Molokai Servs., 2018 Haw. App.

LEXIS 92, at *26 (quoting Combs v. Case Bigelow & Lombardi, No 28773, 2010

Haw. App. LEXIS 25 (Jan. 27, 2010)).

      The Trustee’s aiding-and-abetting allegations are nothing more than bare

bones conclusions:


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             641. TrashMasters, the Corridor Entities and the SPB
             Entities gave substantial assistance or encouragement to
             the Officers and Directors to breach their fiduciary duties
             in Counts LV-LVII.

             642. [T]o the extent individual Officers and Directors
             were not officers and/or directors of the Debtor, said
             individual Officers and Directors gave substantial
             assistance or encouragement to the other [Grouped
             Defendants] to breach their fiduciary duties.

Complaint ¶¶ 641-42.

      The Motion to Dismiss shows that that the Trustee does not allege facts in

the Complaint demonstrating how any Defendant gave “substantial assistance or

encouragement,” what that assistance or encouragement was, and how it was a

“substantial factor” in causing the Officers and Directors to breach their fiduciary

duties. Further, the Trustee has not identified which Officers and Directors were

not officers and directors of the Debtor (or otherwise did not owe an alleged

fiduciary to the Debtor), so it is impossible for any Defendant to determine

whether the Trustee is even alleging this Count against them.

      The Opposition replies that:

             Trustee specifically alleged that the “Corridor Entities
             and the SPB Entities gave substantial assistance or
             encouragement to the Officers and Directors to breach
             their fiduciary duties in Counts LV-LVII.”




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Opposition at 85 (citing Complaint ¶ 641). The Trustee offers no support

therefor, instead citing to unidentified acts of “participation”—which do not meet

the applicable pleading standard. Id.

      The Trustee argues financial gain can demonstrate knowledge of and

substantial assistance in aiding and abetting a breach-of-fiduciary-duty claim. Id.

(citing Neilson v. Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1126-1132

(C.D. Cal. 2003)). In that case, however, the court discussed financial gain in the

context of whether it is a required element of an aiding-and-abetting claim. The

district court determined it was not, but may be a factor in assessing knowledge

or substantial assistance. Cases cited in Neilson make clear that financial gain is

not a direct substitute for alleging knowledge or substantial assistance. See

Neilson, 290 F. Supp. 2d at 1128 (citing Monsen v. Consolidated Dressed Beef

Co., Inc., 579 F.2d 793, 799 (3d Cir. 1978) (“‘The requirement of knowledge

may be less strict where the alleged aider and abettor derives benefits from the

wrongdoing. Nevertheless, even in such a situation, ‘the proof offered must

establish conscious involvement in impropriety or constructive notice of intended

impropriety.’” (quoting SEC v. Coffey, 493 F.2d 1304, 1316 (6th Cir 1974)).

However, because the Trustee has not alleged financial gain on the part of each of

the Grouped Defendants, a bare conclusory allegation of financial gain does not

supplant the requirement that the Trustee allege knowing participation.


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      Accordingly, Count LIX must be dismissed, and the Trustee should not be

permitted to replead this count, because he clearly has no factual allegations in

support thereof.

     5.   Trustee Fails to Sufficiently Plead an Alter Ego Claim Against the
          Defendants (Count LX).
      The Trustee argues that (1) the Complaint adequately pleads the “unity of

interest and ownership among the Syndicator Defendants,” and (2) while Hawaii

does not recognize a claim for reverse veil piercing, the Trustee may bring a

reverse alter-ego claim under Delaware or Nevada law made applicable by

internal affairs doctrine. See Opposition at 86. Both arguments fail.

          a.   The Trustee Fails to Allege Facts Showing Unity of Interest and
               Ownership Among the Alleged Defendants.
      The Complaint asserts in the broadest conclusory terms that all of the

Officers and Directors, the Corridor Entities, and the SPB Entities were alter egos

of TrashMasters and each other and each acted as an agent for one another. See

Complaint ¶ 647. The Trustee fails to sufficiently plead an alter-ego claim under

the applicable law of Hawaii, much less that of Delaware or Nevada, because the

claim rests entirely on conclusory allegations regarding the general existence of

alter ego without specific facts. See Twombly, 550 U.S. at 555 (court need not

accept conclusory legal allegations; entitlement to relief requires more than labels

and conclusions). The conclusory allegations fail to adequately allege a unity of



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interest and ownership among the variously positioned defendants to plausibly

deem them all alter egos of each other.

      In Hawaii, an alter-ego claim requires that the corporation is not only

influenced and governed by the person alleged to be an alter ego, but that there is

such a “unity of interest . . . that the individuality, or separateness, of such person

and corporation has ceased.” Robert’s Haw. School Bus, Inc. v. Laupahoehoe, 91

Haw. 224, 242 (1999), superceded by statute, 2002 Haw. Sess. Laws Act 229, § 2

at 916-17 (quoting Associated Vendors, Inc. v. Oakland Meat Co., Inc., 210 Cal.

App. 2d 825, 837 (1962)). The facts must also demonstrate that adherence to the

fiction of separateness would sanction a fraud or promote injustice. Id.

Furthermore, under Hawaii law, an alter-ego claim is only viable where the

individual owns shares in the entity. See, e.g., Estate of Daily v. Title Guar.

Escrow Servs., 178 B.R. 837, 841 (D. Haw. 1995) (motion to dismiss granted);

Evanston Ins. Co. v. Luko, 7 Haw. App. 520, 525, 783 P. 2d 293, 297 (1989)

(piercing corporate veil not applicable where no evidence that directors and

officers were shareholders).

      The Trustee contends that the Complaint adequately pleads unity of

interest and ownership among the Defendants—but the paragraphs to which he

cites contain no information regarding either. See Complaint ¶¶ 36-38, 89-90.

That the Corridor Entities and SPB Entities are private equity firms managed by


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certain individuals, some of whom had management roles at the Debtor and

TrashMasters, does not support an alter-ego finding, particularly across all of the

entities and individuals. See Complaint ¶¶ 36-38. Likewise, the fact that Corridor

Capital is alleged to be an affiliate of Corridor TrashMasters and the other

Corridor Entities does not support a finding that the Corridor Entities are, for

example, an alter ego of the SPB Entities or of the Officers and Directors. Id. ¶

89. Similarly, the fact that the SPB Entities are alleged to be affiliated does not

support a finding that they are alter egos of the Corridor Entities or of the

Officers and Directors. Id. ¶ 90. There are no facts alleged that enable the Court

or any of the Defendants to determine which Officers and Directors are alleged to

be alter egos of which SPB Entity or which Corridor Entity, or on what basis.

      The Trustee cannot allege that there is a unity of ownership among the

individuals and entities because the face of the Complaint demonstrates that only

Corridor TrashMasters and SPB Waste owned equity in TrashMasters (43.3%

and 21.7%, respectively). Defendants Greulich, Monnier, Davis, Bulloch and

Pressberg are not alleged to have an ownership interest in any of the Debtor,

TrashMasters, the Corridor Entities or SPB Entities. Id. ¶¶ 48, 50. The Complaint

does not state, or even plausibly suggest, that there is a unity of interest such that

the “separateness of each of the Defendants has ceased to exist” as required by

Robert’s Haw. School Bus, Inc. Further, there are no allegations that the Corridor


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Entities or SPB Entities failed to observe corporate formalities or that their

formation was to circumvent public policy or statutes, there are no allegations

regarding concealment or misrepresentation of the ownership or management by

the Defendants, and there are no allegations of commingling or syphoning of

assets by or among the Defendants that would support an alleged alter ego theory

of recovery. See, e.g., Robert’s Haw. School Bus, Inc., 91 Haw. at 242 (listing

factors considered to determine alter-ego liability).

      Even assuming, as the Trustee incorrectly argues (see below), that the

Court must ignore Hawaii law and instead apply the law of Delaware or Nevada,

the Complaint fails to meet the requisite pleading standards.

      Delaware law creates a high bar for the Trustee. Delaware courts applying

Delaware law are extremely reluctant to disregard the corporate form to impose

alter-ego liability. See Wallace v. Wood, 752 A.2d 1175, 1183-84 (Del. Ch. 1999)

(“‘Persuading a Delaware court to disregard the corporate entity is a difficult

task.’” (quoting Harco Nat’l Ins. Co. v. Green Farms, No. 1131, 1989 Del. Ch.

LEXIS 114, at *10 (Sept. 19, 1989)). An alter-ego claim under Delaware law

requires (1) “exclusive domination and control” to the point that the separateness

of entity and defendant no longer exists and (2) that the corporate structure must

be a sham “and exist for no other purpose than as a vehicle for fraud.” Id. at 1184

(motion to dismiss alter-ego claim granted); see also Mason v. Network of


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Wilmington, Inc., No. 19434, 2005 Del. Ch. LEXIS 99, at **9-17 (July 1, 2005)

(same). The Complaint fails to allege a unity of interest, much less anything

amounting to exclusive domination and control between the Defendants, and the

Complaint fails to allege that the corporate structure among the Defendants

existed for the sole purpose of fraud. The interests of the Defendants in each

other and TrashMasters were not unified, and the fact that TrashMasters was

owned in part by Corridor TrashMasters and SPB Waste (with the remaining 35%

ownership unspecified) is not reflective of a sham corporate structure and there is

no basis for that inference. The most that the Complaint alleges is, “As alter egos,

TrashMasters, the Officers and Directors, the Corridor Entities, and the SPB

Entities engaged in fraudulent conveyances and transfers and breaches of their

fiduciary duties.” Complaint ¶ 648. The allegation does not come close to

pleading that a corporate structure existed for no other purpose than as a vehicle

for fraud.

      Under Nevada law, an alter-ego claim requires (1) the corporation must be

influenced and governed by the person asserted to be the alter ego, (2) there must

be such a unity of interest and ownership that one is inseparable from the other,

and (3) the facts must be such that adherence to the corporate fiction of a separate

entity would sanction a fraud or promote injustice. See LFC Mktg. Group, Inc. v.

Loomis, 116 Nev. 896, 904, 8 P.3d 841, 846 (2000) (cited by the Trustee); see


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also Nev. Rev. Stat. Ann. § 78.747 (liability of stockholder, director or office for

debt or liability of corporation) (codifying common law). Again, the Trustee has

not, and cannot, allege that there is a unity of interest and ownership between the

Defendants such that all Defendants are inseparable from each other. Ownership

of corporate shares is a strong factor favoring the second element, but it is not

dispositive. See LFC Mktg. Group, 116 Nev. at 905, 8 P.3d at 847. Other factors

to determine whether a unity of interest exists between the individual and a

corporate entity under Nevada law include: commingling and unauthorized

diversion of funds, treatment of corporate assets as personal assets, and failure to

observe corporate formalities. See Polaris Indus. Corp. v. Kaplan, 103 Nev. 598,

601-02, 747 P.2d 884, 887-88 (1987) (officers treated corporate funds as their

own while corporate debts were not being paid). The Trustee fails to allege

specific facts regarding any of the foregoing factors that would plausibly

establish a unity of interest between and among each of the Defendants. None of

these facts are alleged among the various entities and individuals the Trustee

alleges are all alter egos of each other.

      In sum, the Complaint makes conclusory statements regarding alter-ego

liability among the diverse Defendants (Complaint ¶¶ 644-651) without

specifying critical facts that would support findings under Hawaii, Delaware, or

Nevada law that each Defendant should be liable for the actions of the other


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without regard to separateness, or that the separateness of the Defendants is a

sham and treating them as separate would promote fraud or injustice.

           b.   Hawaii Does Not Recognize a Reverse Alter-Ego Claim and,
                Even Assuming That Delaware or Nevada Law Applies, the
                Trustee Fails to State Sufficient Facts to Support a Plausible
                Claim for Reverse Alter-Ego Liability.
      The Trustee argues that the law of the state of incorporation determines

issues relating to a corporation’s internal affairs such that Delaware or Nevada

law should govern the alter-ego claim, and that Delaware and Nevada, unlike

Hawaii, permit a reverse alter-ego claim. See Opposition at 89.52

      Defendants dispute that the internal-affairs doctrine governs alter-ego

liability as it relates to the fraudulent-transfer and tort claims in this case. Even if

the internal-affairs doctrine is applied, it requires application of Hawaii law to the

alter-ego claims and allegations because Hawaii has the most significant

relationship to the claims. Therefore, the reverse alter-ego claim must be

dismissed. However, even if Delaware or Nevada law does apply, the Complaint




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   As a preliminary matter, the Trustee fails to cite any authority for the proposition
that the internal-affairs doctrine applies to alter-ego claims where, as here, the
alter-ego claim is not a matter of collection, but of joint and several liability based
on alleged avoidance and breach-of-fiduciary-duty claims. The Trustee also fails to
state which state law arguably should apply to his alter-ego claim (although
Delaware is the logical assumption because TrashMasters is a Delaware LLC and
the Delaware Corridor Entities held a greater ownership in the entity than did the
Nevada SPD Entities).

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fails to allege a viable claim for reverse alter-ego liability among each of the

Defendants under the applicable law of these states.

      The Ninth Circuit applies federal choice-of-law rules in bankruptcy cases.

See Liberty Tool & Mfg. v. Vortex Fishing Sys., Inc. (In re Vortex Fishing Sys.,

Inc.), 277 F.3d 1057, 1069 (9th Cir. 2002) . Federal choice-of-law rules follow

the approach of the Restatement (Second) of Conflict of Laws. Id.; see also PNC

Bank v. Sterba (In re Sterba), 852 F. 3d 1175, 1179 (9th Cir. 2017) (federal

choice of law applied to bankruptcy analysis of statute-of-limitations provision in

promissory note); Official Comm. v. Nilson (In re Woodside Group, LLC), 427

B.R. 817, 837 (Bankr. C.D. Cal. 2010) (federal choice of law applied to

bankruptcy dispute concerning equitable restitution and preliminary injunction).

      The Restatement (Second) of Conflict of Laws sets forth the internal-

affairs doctrine and directs that the local law of the state of incorporation applies

to determine the extent of a director or officer’s liability to the corporation and its

creditors “except where, with respect to the particular issue, some other state has

a more significant relationship . . . to the parties and the transaction, in which

event the local law of the other state will be applied.” Restatement (Second)

Conflict of Laws § 309 (Directors’ or Officers’ Liability); see also Restatement

(Second) Conflict of Laws § 302 (other issues with respect to powers and

liabilities of corporation) (substantively identical language). Thus, there is a


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presumption that the law of the state of incorporation applies that may be rebutted

by a showing that the forum state has a more significant relationship. See, e.g.,

Deangelis v. Corzine (In re MF Global Holdings Inv. Litig.), 998 F. Supp. 2d

157, 179 (S.D.N.Y. 2014) (“[I]f there is a state with ‘a more significant

relationship with the parties and the dispute at issue,’ the court should apply that

state’s law;” applying internal-affairs doctrine under the Restatement approach

and holding that state law of the state with the most significant relationship

governed breach-of-fiduciary-duty claims, not the law of the state of

incorporation); In re Fitness Holdings Int’l, No. 14-cv-1059, 2014 U.S. Dist.

LEXIS 196754, at **10-11 (C.D. Cal. Oct. 9, 2014) (matters falling under the

internal-affairs doctrine limited to steps taken in the course of incorporation;

applying California forum law to claims for equitable recharacterization of debt);

FDIC v. Van Dellen, No. 10-4915, 2012 U.S. Dist. LEXIS 146648 at **7-16

(C.D. Cal. Oct. 5, 2012) (reviewing internal-affairs doctrine and federal choice-

of-law rules; applying California forum law to claims for breach of fiduciary

duties by former directors and officers).

      The only cases cited by the Trustee to support his argument that Delaware

or Nevada law should apply are Sky Cable, LLC v. DIRECTV, Inc., 886 F.3d 375,

382 (4th Cir. 2018), and First Nat'l City Bank v. Banco Para El Comercio

Exterior de Cuba, 462 U.S. 611, 613-14 (1983) superceded by statute, 28 U.S.C.


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§ 1610(g). Neither of these cases requires application of Delaware or Nevada law

to determine the alter-ego standards to be applied by this Court.

      Most importantly, the Trustee misstates the key holding of the Supreme

Court on the choice-of-law issue by taking the quoted language out of context.

When the quote is read in the context of the language on either side of it, it is

clear the Supreme Court is refusing to adhere to the maxim that the state of

incorporation determines the applicable alter ego standards:

                    We must next decide which body of law
             determines the effect to be given to Bancec’s separate
             juridical status. Bancec contends that internationally
             recognized conflict-of-law principles require the
             application of the law of the state that establishes a
             government instrumentality—here Cuba—to determine
             whether the instrumentality may be held liable for actions
             taken by the sovereign.

                    We cannot agree. As a general matter, the law of
             the state of incorporation normally determines issues
             relating to the internal affairs of a corporation.
             Application of that body of law achieves the need for
             certainty and predictability of result while generally
             protecting the justified expectations of parties with
             interests in the corporation. Different conflicts principles
             apply, however, where the rights of third parties external
             to the corporation are at issue. To give conclusive effect
             to the law of the chartering state in determining whether
             the separate juridical status of its instrumentality should
             be respected would permit the state to violate with
             impunity the rights of third parties under international
             law while effectively insulating itself from liability in
             foreign courts. We decline to permit such a result.




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First Nat'l City Bank, 462 U.S. at 621-22 (emphasis added; citations and

footnotes omitted). Instead of applying the law of the state of organization, the

Supreme Court applied “internationally recognized equitable principles to avoid

the injustice that would result from permitting a foreign state to reap the benefits

of our courts while avoiding the obligations of international law.” Id. at 634.

      Sky Cable did not involve a matter before the court pursuant to bankruptcy

jurisdiction under 28 U.S.C. section 1344 and there is no discussion of the

application of federal common-law choice-of-law rules.

      In this case, applying federal choice-of-law rules, Hawaii has a more

significant relationship to the parties and transactions at issue than either

Delaware or Nevada. The Trustee has not alleged otherwise. The Trustee seeks to

impose alter-ego liability on behalf of the estate of a debtor organized in Hawaii,

against the Officers and Directors, Corridor Entities, and SPB Entities, in

connection with alleged fraudulent conveyances and alleged breach-of-fiduciary

duties alleged to have occurred in Hawaii. The transactions at issue do not arise

from the formation or structure of Delaware or Nevada companies (e.g., relating

to the issuance of membership or stock, dividends, or bylaws of the Corridor

Entities or SPB Entities). The transactions and alleged wrongful conduct all took

place in Hawaii. See Complaint ¶ 3. Hawaii has the most significant interest with

respect to the Debtor’s estate and business transactions in the state, as well as


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with the uniform application and predictability of the alter-ego remedy if and

when an underlying claim exists.

      Hawaii does not recognize the Trustee’s reverse alter-ego claim, whereby

he seeks to impose liability upon the various individuals and entities based on the

liability of a shareholder. The Trustee resorts to the impermissible reverse alter-

ego theory in an effort to impose liability down the ownership chain of the SPB

Entities and the Corridor Entities. See Motion to Dismiss at 101, n.61; Kauai

Scuba Center, Inc., v. Lexington Ins. Co., No. 11-00573, 2012 U.S. Dist. LEXIS

19668, at *5 (D. Haw. Feb. 16, 2012) (dismissing reverse veil piercing and

stating “Hawaii Supreme Court has not adopted the theory of reverse piercing the

corporate veil”). Thus, the alter-ego claim as it relates to the Corridor Entities, the

SPB Entities, and any of the individuals affiliated with them must be dismissed. It

appears that the only Defendants for whom the Trustee is not seeking to impose

reverse veil piercing are Corridor TrashMasters and SPB Waste because they are

alleged to be equity holders of TrashMasters.

      Even assuming that Hawaii does not have a more significant relationship to

the parties and transactions at issue, the Complaint fails to allege a viable claim

for reverse alter ego under either Delaware or Nevada law. The Trustee

acknowledges that Delaware has not definitively adopted the theory of reverse

veil piercing; there are only predictions of willingness to recognize such a claim


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under certain circumstances. See Opposition at 89-90. The fact remains that

piercing the corporate veil in Delaware, as in all states, is an exception to the rule

that the owners of limited liability company are distinct from the entity and

cannot be held liable for the corporate debts. Even if reverse veil piercing “down”

is permissible to impose liability on the various entity Defendants based on the

debt of the owner, the Trustee has not pleaded facts demonstrating a plausible

claim for reverse alter-ego liability under Delaware law. More specifically, the

Complaint does not allege exclusive domination and control by and among each

of the Defendants, and does not allege facts showing that any of the entity

Defendants are sham entities. See Wallace v. Wood, 752 A.2d at 1184.

      Nevada recognizes that reverse veil piercing may be appropriate when

“‘the controlling party uses the controlled entity to hide assets or secretly to

conduct business to avoid the pre-existing liability of the controlling party.’” LFC

Mktg. Group, Inc., 8 P.3d at 903. The same court cautions, “However, it should

be emphasized that the ‘corporate cloak is not lightly thrown aside’ and that the

alter ego doctrine is an exception to the general rule recognizing corporate

independence.” Id. (quoting Baer v. Amos J. Walker, Inc., 85 Nev. 219, 220

(1969)). The Trustee has not come close to alleging facts to demonstrate that any

Defendant used or controlled another Defendant to hide assets, secretly conduct

business, or avoid pre-existing liability. Moreover, the Trustee fails to allege the


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core elements required of an alter-ego claim against the Defendants, including

underlying facts to demonstrate that “there is such unity of interest and ownership

that [the Defendants] are inseparable from each other.” Nev. Rev. Stat. Ann.

§ 78.747(2)(b) (director and officer alter-ego liability). The Defendants consist of

separate individuals and entities, and the Trustee has not pleaded facts to

plausibly show that they were ever inseparable.

     6.   Trustee Fails to Sufficiently Plead an Unjust-Enrichment Claim
          (Count LXI).
      The Trustee attempts to sidestep the inherent limitations of a claim for

unjust enrichment by arguing that “there has been no actual determination that the

legal remedies sought in the Complaint are adequate, or inadequate.” Opposition

at 91. Looking beyond the conclusory assertions in the Complaint (¶¶ 653-54), it

is clear that the Trustee asserts claims for which legal remedies preclude

equitable relief; beyond that, it is impossible to determine what unjust enrichment

the Trustee seeks and from whom.

          a.   The Unjust Enrichment Claims Must Be Dismissed as to
               Defendants Against Whom the Trustee Has Adequate Legal
               Remedies.
      An equitable remedy is only available when a plaintiff’s legal remedies are

inadequate. See Porter v. Hu, 116 Haw. 42, 55, 159 P.3d 994, 1007 (Haw. App.

2007) (absence of an adequate remedy at law is a “necessary prerequisite” to an

equitable claim; unjust enrichment awarded to remedy lost books of business).


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Where the Complaint demonstrates that the plaintiff has an adequate remedy at

law, the unjust enrichment claim should be dismissed. See Soule v. Hilton

Worldwide, Inc., 1 F. Supp. 3d 1084, 1102-03 (D. Haw. 2014) (adequate remedy

under Unfair and Deceptive Trade Practices Act; unjust enrichment dismissed).

      In Soule v. Hilton Worldwide, Inc., the district court held that a class plaintiff

who sued a hotel chain for unfair business practices and unjust enrichment in

connection with a $25 add-on fee had an adequate legal remedy under Hawaii’s

unfair practices statute, and accordingly dismissed the unjust enrichment claim.

Citing to Porter v. Hu, the court explained that under long-standing principles,

Hawaii will only invoke equity when legal remedies are inadequate. See Soule, 1 F.

Supp. 3d at 1102. Like the Trustee, the plaintiff only pleaded conclusory

allegations that the hotel received a benefit and was unjustly enriched thereby, and

the claim was dismissed. Id. at 1102-03 (“Here, the Court finds that Plaintiff has an

adequate remedy at law in the form of a claim under Hawaii’s Unfair and

Deceptive Trade Practices Act . . . . Plaintiff does not explain how its H.R.S. §480-

2(a) claim does not ‘fully address the injustice’ it allegedly suffered at the hands of

Hilton.”). The Soule court specifically rejected the plaintiff’s argument that the

unjust enrichment claim should be allowed as an alternative pleading. Id. at 1103

(“Plaintiff cannot assert an unjust enrichment claim, even in the alternative,

because Hawaii law makes clear that the absence of an adequate remedy at law is a


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necessary prerequisite to maintaining an unjust enrichment claim.”) Under this

reasoning, an unjust enrichment claim is only available to “fill a gap in the law”

where legal remedies are inadequate. Id. at 1104.

      To the extent that the Complaint seeks recovery for unjust enrichment

against certain of the Defendants based on alleged fraudulent transfers (Corridor

Capital and SPB Management as purported recipients of advisory fees under the

Advisory Agreement and TrashMasters as the entity for whose benefit transfers

were made in connection with the Union Bank Payments, the ROHI Note, the

KNG Note and the Colbeck Payments), the Trustee has adequate legal remedies

under HUFTA or FDCPA. Additionally, as to the payments made to Corridor

Capital and SPB Management under the Advisory Agreement, the theory of unjust

enrichment does not apply where, as here, adequate remedies exist under

fraudulent transfer statues and a contract governs the relationship between the

parties and provides a remedy for breach. See Paracor Fin., Inc. v GE Capital

Corp., 96 F.3d 1151,1167 (9th Cir 1996); Motion to Dismiss at 104.

          b.    The Unjust Enrichment Claim Must Be Dismissed Based on
                Insufficient Facts.
      The unjust enrichment claim is subject to the same analysis under Twombly

as other claims in terms of a cognizable legal theory and sufficient facts to state a

plausible claim. See Twombly, 550 U.S. at 555 (entitlement to relief requires more

than labels and conclusions). The unjust enrichment claim should be dismissed


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because the Complaint fails to adequately allege what benefit was unjustly

conferred upon whom. See BlueEarth Biofuels, LLC v. Hawaiian Elec. Co., 780 F.

Supp. 2d 1061, 1073 (D. Haw. 2011) (unjust enrichment claim dismissed for lack

of facts); Philadelphia Indemn. Ins. Co. v. Ohana Control Sys., 289 F. Supp. 3d

1141, 1151-52 (D. Haw. 2018) (same).

      The remedy of unjust enrichment is only available where a defendant

receives an actual benefit and unjustly retains it. The benefit required must be

tangible, such as an interest in money, land, or chattels of choses in action, and of a

nature that would justify restitution:

             “[a] person confers a benefit upon another if he gives to
             the other possession of or some other interest in money,
             land, chattels, or cho[]ses in action, . . ., or in any way
             adds to the other’s security or advantage.” Restatement of
             Restitution § 1 comment b (1937). One who receives a
             benefit is of course enriched, and he would be unjustly
             enriched if its retention would be unjust. Id. § 1 comment
             a. And it is axiomatic that “[a] person who has been
             unjustly enriched at the expense of another is required to
             make restitution to the other.” Id. § 1. We realize unjust
             enrichment is a broad and imprecise term defying
             definition. But in deciding whether there should be
             restitution here, we are guided by the underlying
             conception of restitution, the prevention of injustice. See
             A. Denning, The Changing Law 65 (1953).

Durette v. Aloha Plastic Recycling, Inc., 105 Haw. 490, 502-03 (2004) (quoting

Small v. Badenhop, 67 Haw. 626, 635-36 (1985)).




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      The Complaint contains only bare legal conclusions regarding alleged unjust

enrichment against all Defendants. The Complaint fails to identify any benefit

conferred on the “Non-Recipient Defendants,” including each of the Officers and

Directors (other than Colbeck), Corridor Capital Advisors, Corridor TrashMasters,

SPB Waste, SPB Capital, SPB Capital GP, LLC SPB Capital Partners, L.P. and

SPB Partners. The Complaint fails to allege that these Defendants received a

benefit without adequate legal basis. There are no allegations that they received

possession of or some other interest in money, land, chattels, or choses in action or

anything of tangible, quantifiable value from the debtor. None of them are alleged

to be the recipients of fraudulent transfers or entities for whose benefit the alleged

fraudulent transfers were made. Contrary to the Trustee’s statement in his

Opposition at 92, the demand for recovery of the alleged “value of the transfer(s)

and/or obligation(s) by which they benefitted” (Complaint ¶ 654) does not set forth

the benefit or amount received by each Defendant named in the Unjust Enrichment

Count or set forth any basis upon which the Non-Recipient Defendants can be

found liable for unjust enrichment. See, e.g., BlueEarth Biofuels, 780 F. Supp. 2d

at 1073 (unjust enrichment dismissed; “Plaintiffs have not stated what precisely it

conferred upon the . . . Defendants which they unlawfully retained.”). The

Complaint broadly alleges an unjust enrichment claim against all Defendants

without stating who received what benefit or why it would be unjust for the


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recipient to retain such benefit. Under these circumstances, the unjust enrichment

claim must be dismissed.

      Porter v. Hu, 116 Haw. 42, 55 (2007), the sole authority relied upon by the

Trustee to support his unjust enrichment claims, is of no help to the Trustee on the

issue of “benefit” conferred. In Porter, the defendants were expressly found to

have actually received approximately $714,000 in the form of insurance

commissions from books of business lost by plaintiffs, which the defendants did

not purchase and for which the contracts at issue did not provide recovery. Id. at

52. Porter reinforces the fundamental principal that some tangible benefit must be

received by the defendant for which restitution would be appropriate in order for

an unjust enrichment claim to survive.




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                                        III.

                                 CONCLUSION

      WHEREFORE, based upon the foregoing, Defendants respectfully request

that the Complaint be dismissed for the reasons set forth herein.

DATED: Honolulu, Hawaii April 5, 2019
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